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 Sara Rufo               01/02/24   1.0 Update YE audit plan, as of 01/02/24, to provide        1.0    $ 400   $      400.00
                                    client with updated audit timeline.
 Sara Rufo               01/02/24   2.2 Senior Manager review, as of 01/02/24, of               2.2    $ 400   $      880.00
                                    workpaper documentation including materiality, audit
                                    plan, CERAMICs for Lordstown.
 Melina Lynn             01/03/24   (0.1) Updated, as of 01/03/24, the information              0.1    $ 250   $        25.00
                                    collected related to Lordstown internal controls by
                                    removing a control we deem unnecessary.
 Melina Lynn             01/03/24   Meeting with S. Rufo and M. Lynn (KPMG) to discuss          0.2    $ 250   $        50.00
                                    the priority items related to Lordstown for this week.
 Melina Lynn             01/03/24   Documented the tentative schedule of the walkthrough        0.3    $ 250   $        75.00
                                    inquiries that were sent to Lordstown management for
                                    confirmation to prepare for inquiries over purchases,
                                    payroll, treasury / equity processes.
 Melina Lynn             01/03/24   Incorporate workpaper documentation reference to            0.3    $ 250   $        75.00
                                    Analyst reports to match with our audit file for
                                    Lordstown, concurrently preparing Q4 Analyst reports
                                    / Summary of SEC filing reports.
 Melina Lynn             01/03/24   Documented Lordstown information related to                 0.5    $ 250   $      125.00
                                    materiality within the Materiality screen in KCw based
                                    on conversations with S. Rufo (KPMG).
 Melina Lynn             01/03/24   Documented Lordstown information on Performance             0.6    $ 250   $      150.00
                                    Materiality / AMPT within the PM / AMPT screens
                                    based on conversations with S. Rufo (KPMG).
 Melina Lynn             01/03/24   (0.8) Updated, as of 01/03/24, the language over            0.8    $ 250   $      200.00
                                    internal control to include information about
                                    Lordstown bankruptcy.
 Melina Lynn             01/03/24   Drafted legal confirmation letters for the 6 entities to    1.6    $ 250   $      400.00
                                    be sent to third-party law firms to gain information on
                                    Lordstown outstanding legal fees.
 Sara Rufo               01/03/24   2.4 Senior Manager review, as of 01/03/24, of               2.4    $ 400   $      960.00
                                    Lordstown audit workpaper documentation (primarily
                                    process understanding documentation).
 Melina Lynn             01/04/24   (0.2) Clear, as of 01/04/24, review comments related        0.2    $ 250   $        50.00
                                    to the risk assessment over all business processes for
                                    Lordstown.
 Melina Lynn             01/04/24   (0.4) Clear, as of 01/04/24, review comments related        0.4    $ 250   $      100.00
                                    to the audit team's understanding over the Lordstown
                                    equity process.
 Melina Lynn             01/04/24   Meeting with S. Rufo and M. Lynn (KPMG) to discuss          0.5    $ 250   $      125.00
                                    status, as of 01/04/24, of items to be delivered from
                                    Lordstown as well as questions over documentation of
                                    risks within the audit file.


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 Melina Lynn             01/04/24   Revise, as of 01/04/24, Lordstown project plan to          0.5    $ 250   $      125.00
                                    update due dates of procedures to be finalize in the
                                    conclusions and reporting section of the audit file for
                                    ultimate communication to the client.
 Melina Lynn             01/04/24   Documented, as of 01/14/24, the audit plan screen          0.8    $ 250   $      200.00
                                    within the KCw audit file to document risks /
                                    procedures the audit team plans to perform for the
                                    Lordstown audit.
 Sara Rufo               01/04/24   1.0 Meeting with LMC management (M. Port, K.               1.0    $ 400   $      400.00
                                    Moser) to go over PBC list and miscellaneous audit
                                    related questions.
 Melina Lynn             01/04/24   Documented the risks related to Lordstown Purchases        1.7    $ 250   $      425.00
                                    and Procure to Pay over the entity based on operations
                                    over the past year.
 Melina Lynn             01/04/24   Documented, as of 01/04/24, the presentation as well       2.6    $ 250   $      650.00
                                    as the implementation of Lordstown entity-level
                                    controls to remove controls that were deemed
                                    unchanged by Lordstown management.
 Melina Lynn             01/05/24   (0.2) Remove the entity level control related to           0.2    $ 250   $        50.00
                                    earnings release calls upon finding that the last
                                    earnings release from Lordstown was related to Q4
                                    2022.
 Melina Lynn             01/05/24   Meeting with S. Rufo and M. Lynn (KPMG) to discuss         0.3    $ 250   $        75.00
                                    any new information from Lordstown, as of 1/5, and
                                    next steps.
 Melina Lynn             01/05/24   (0.5) Investigate, as of 01/05/24, when the last           0.5    $ 250   $      125.00
                                    earnings release was conducted for Lordstown on their
                                    company's website in order to document items related
                                    to the company for the 2023 audit.
 Sara Rufo               01/05/24   0.5 Senior Manager review, as of 01/05/24, of              0.5    $ 400   $      200.00
                                    walkthrough schedule, concurrently drafting email to
                                    Lordstown on questions to prepare for walkthroughs.
 Melina Lynn             01/05/24   Create a list of Software Audit Tools in KPMG's            0.6    $ 250   $      150.00
                                    engagement profile for Lordstown, concurrently
                                    prepare a document that outlines this information to be
                                    incorporated into the audit plan portion.
 Melina Lynn             01/05/24   Using the Share-Based Valuation Checklist from             0.7    $ 250   $      175.00
                                    ALex database, concurrently populate the checklist
                                    based on matters of the company to determine if a
                                    Share-Based Valuation Specialist is required for this
                                    year's Lordstown audit in advance of submission of
                                    the checklist to the audit file within KCw.




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 Melina Lynn             01/05/24   Communicate via email with our audit team / LMC              0.9    $ 250   $      225.00
                                    management on scheduling probe meetings,
                                    concurrently attaching the applicable flowcharts /
                                    questions to each of the four probing meetings
                                    scheduled.
 Melina Lynn             01/05/24   (1.8) Update, as of 01/05/24, the language within the        1.8    $ 250   $      450.00
                                    treasury risk screens to better encapsulate the current
                                    matters within the company surrounding the
                                    recognized risks of treasury and debt as well as
                                    amounts that were found in the Lordstown Q3 JET
                                    report provided by Lordstown management.
 Melina Lynn             01/05/24   (2.2) Continue, from earlier on 01/05/24, to update the      2.2    $ 250   $      550.00
                                    language within the treasury risk screens to better
                                    encapsulate the current matters within the company
                                    surrounding the recognized risks of treasury and debt
                                    as well as amounts that were found in Lordstown Q3
                                    Trial Balance.
 Melina Lynn             01/08/24   Using the KPMG probing inquiry template, prepare             0.2    $ 250   $        50.00
                                    questions for Lordstown management over the payroll
                                    process in the Probing Inquiry meeting, including
                                    those related to the service organization that the
                                    company still uses.
 Scott Stelk             01/08/24   Call between Lead Manager and Partner (S. Rufo and           0.4    $ 500   $      200.00
                                    S. Stelk - KPMG) to discuss audit plan, as of
                                    01/08/24, and testing approach for PPE.
 Melina Lynn             01/08/24   (0.5) Review, as of 01/08/24, the requests related to        0.5    $ 250   $      125.00
                                    Lordstown project plan deliverables sent to the OKE
                                    team, concurrently updating.
 Sara Rufo               01/08/24   0.7 Senior Manager review, as of 01/08/24, of                0.7    $ 400   $      280.00
                                    Lordstown audit plan focusing on journal entry
                                    testing.
 Melina Lynn             01/08/24   (1.1) Drafted instructions to be sent to the OKE team        1.1    $ 250   $      275.00
                                    with the request to create the presentation/layout of the
                                    trial balance that was received from LMC to include
                                    account titles / subtotals.
 Melina Lynn             01/08/24   Using the first YE Trial Balance / JET report, updated,      2.7    $ 250   $      675.00
                                    as of 01/08/24, the amounts related to Treasury risks,
                                    Purchase risks, equity risks, and payroll risks to assess
                                    whether our risk is higher, lower, or stays the same
                                    based on the YE amounts provided by LMC
                                    management.




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 Melina Lynn             01/08/24   Continue, from earlier on 01/08/24, using the first YE      3.1    $ 250   $      775.00
                                    Trial Balance / JET report, to update the amounts
                                    related to Treasury risks, Purchase risks, equity risks,
                                    and payroll risks to assess whether our risk is higher,
                                    lower, or stays the same based on the YE amounts
                                    provided by LMC management.
 Melina Lynn             01/09/24   Updated, as of 01/09/24, the Software audit tools in        0.2    $ 250   $        50.00
                                    Lordstown's engagement profile.
 Amanda Delaney          01/09/24   (0.5) Call to conduct probing inquiries over the            0.5    $ 300   $      150.00
                                    Lordstown Treasury and Payroll processes to assess if
                                    any significant changes were made to these processes
                                    that would warrant KPMG to conduct a walkthrough
                                    with S. Rufo, A. Delaney, M. Lynn (KPMG) and K.
                                    Moser, M. Port (Lordstown).
 Melina Lynn             01/09/24   (0.5) Call to conduct probing inquiries over the            0.5    $ 250   $      125.00
                                    Lordstown Treasury and Payroll processes to assess if
                                    any significant changes were made to these processes
                                    that would warrant KPMG to conduct a walkthrough
                                    with S. Rufo, A. Delaney, M. Lynn (KPMG) and K.
                                    Moser, M. Port (Lordstown).
 Sara Rufo               01/09/24   (0.5) Call to conduct probing inquiries over the            0.5    $ 400   $      200.00
                                    Lordstown Treasury and Payroll processes to assess if
                                    any significant changes were made to these processes
                                    that would warrant KPMG to conduct a walkthrough
                                    with S. Rufo, A. Delaney, M. Lynn (KPMG) and K.
                                    Moser, M. Port (Lordstown).
 Melina Lynn             01/09/24   (0.5) Prepare instructions to be sent to the OKE team       0.5    $ 250   $      125.00
                                    with the request to exclude controls related to
                                    Lordstown that we aren't testing.
 Sara Rufo               01/09/24   (0.5) Senior Manager review, as of 01/09/24, of             0.5    $ 400   $      200.00
                                    Lordstown audit workpaper documentation focusing
                                    on understanding of process as well as the risks
                                    screens.
 Alexandra Williams      01/09/24   DPP Senior Manager review, as of 01/09/24, of               0.5    $ 765   $      382.50
                                    inquiry related to going concern monitoring plan that
                                    was submitted by the engagement team in KPMG
                                    inquiry system in advance of sending initial questions
                                    to S. Rufo (KPMG) to gain a better understanding of
                                    Lordstown.
 Melina Lynn             01/09/24   (0.7) Review, as of 01/09/24, the deliverable from the      0.7    $ 250   $      175.00
                                    OKE team where they scrubbed Lordstown expense
                                    population to verify appropriateness for our testing.




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 Melina Lynn             01/09/24   Documented the latest filings that Lordstown has            0.8    $ 250   $      200.00
                                    disclosed to the SEC to understand matters related to
                                    the company as of year end and any subsequent
                                    events.
 Melina Lynn             01/09/24   Populate the DPP Climate risks workpaper                    0.9    $ 250   $      225.00
                                    documentation for Lordstown to be uploaded to the
                                    audit file to document our understanding of their
                                    climate risk.
 Sara Rufo               01/09/24   (1.0) Senior Manager review, as of 01/09/24, of             1.0    $ 400   $      400.00
                                    Lordstown workpaper documentation including legal
                                    and equity confirmations.
 Melina Lynn             01/09/24   Documented the PPLs that the DPP had reported in            1.5    $ 250   $      375.00
                                    2023 including how they apply to Lordstown for this
                                    2023 audit.
 Melina Lynn             01/09/24   Document KPMG's findings from the Payroll and               2.4    $ 250   $      600.00
                                    Treasury probing meetings along with the process
                                    flowcharts that match with each process.
 Alexandra Williams      01/10/24   0.3 Call to discuss the responses received from the         0.3    $ 765   $      229.50
                                    1/09/24 email related to Lordstown going concern
                                    monitoring plan with S. Rufo and A. Williams
                                    (KPMG).
 Sara Rufo               01/10/24   0.3 Call to discuss the responses received from the         0.3    $ 400   $      120.00
                                    1/09/24 email related to Lordstown going concern
                                    monitoring plan with S. Rufo and A. Williams
                                    (KPMG).
 Alexandra Williams      01/10/24   0.3 Draft email to D. Garza and K. Grapperhaus              0.3    $ 765   $      229.50
                                    (KPMG), summarizing call related to going concern
                                    with S. Rufo (KPMG) as well as the additional
                                    research completed for Lordstown.
 Alexandra Williams      01/10/24   Draft email to S. Rufo (KPMG) based on responses            0.3    $ 765   $      229.50
                                    received to the summary related to going concern
                                    provided to D. Garza (KPMG) and K. Grapperhaus
                                    (KPMG).
 Alexandra Williams      01/10/24   0.4 DPP Senior Manager finalize additional research         0.4    $ 765   $      306.00
                                    for Lordstown (e.g., reviewing latest filing, news
                                    articles, etc.) for purpose of going concern monitoring.
 Amanda Delaney          01/10/24   In order to verify ongoing litigation to be disclosed in    0.4    $ 300   $      120.00
                                    Lordstown 10K, review, as of 01/10/24, legal letters
                                    from third party law firm as well as the equity third
                                    party transfer agent confirmation to be sent to support
                                    the legal / equity substantive procedures.




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 Melina Lynn             01/10/24   Update, as of 01/10/24, the names of Lordstown             0.4    $ 250   $      100.00
                                    control operator owners in the Entity level controls
                                    that have changed this year.
 Melina Lynn             01/10/24   (0.5) Updated, as of 01/10/24, the date including the      0.5    $ 250   $      125.00
                                    revisions necessary for the legal confirmation for
                                    Lordstown to send to be sent 3rd party law firms.
 Melina Lynn             01/10/24   (0.6) Drafted the equity confirmation to be sent to a      0.6    $ 250   $      150.00
                                    third party to confirm amount of shares outstanding
                                    for Lordstown.
 Melina Lynn             01/10/24   (0.8) Review, as of 01/10/24, Lordstown expense            0.8    $ 250   $      200.00
                                    population to plan how to break out the specific
                                    populations needed for testing.
 Melina Lynn             01/10/24   Documented information collected from the probing          0.9    $ 250   $      225.00
                                    inquiry meetings over Equity and HR into a
                                    standardized memo (0.6), incorporated the
                                    documented memos / flowcharts for these processes
                                    into the KCw Lordstown audit file (0.3).
 Sara Rufo               01/10/24   (1.0) Prepared memo around Lordstown Current Risk          1.0    $ 400   $      400.00
                                    Factors.
 Amanda Delaney          01/10/24   Reconcile, as of 01/10/24, Lordstown expense               1.0    $ 300   $      300.00
                                    population to their trial balance, concurrently
                                    investigating the differences identified to verify the
                                    balance of expenses at year end / to verify the
                                    expenses population provided to the team was
                                    complete.
 Amanda Delaney          01/10/24   (1.2) Call to conduct probing inquiries over the           1.2    $ 300   $      360.00
                                    Lordstown Equity, Procure-to-Pay and HR processes
                                    to assess if any significant changes were made to these
                                    processes that would warrant KPMG to conduct a
                                    walkthrough with S. Rufo, A. Delaney, M. Lynn
                                    (KPMG) and K. Moser, M. Port, J. Coniglio-Kirk, C.
                                    Hunt (Lordstown).
 Melina Lynn             01/10/24   (1.2) Call to conduct probing inquiries over the           1.2    $ 250   $      300.00
                                    Lordstown Equity, Procure-to-Pay and HR processes
                                    to assess if any significant changes were made to these
                                    processes that would warrant KPMG to conduct a
                                    walkthrough with S. Rufo, A. Delaney, M. Lynn
                                    (KPMG) and K. Moser, M. Port, J. Coniglio-Kirk, C.
                                    Hunt (Lordstown).




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 Sara Rufo               01/10/24   (1.2) Call to conduct probing inquiries over the             1.2    $ 400   $      480.00
                                    Lordstown Equity, Procure-to-Pay and HR processes
                                    to assess if any significant changes were made to these
                                    processes that would warrant KPMG to conduct a
                                    walkthrough with S. Rufo, A. Delaney, M. Lynn
                                    (KPMG) and K. Moser, M. Port, J. Coniglio-Kirk, C.
                                    Hunt (Lordstown).
 Melina Lynn             01/10/24   Using the trial balance layout, created a final analytics    1.7    $ 250   $      425.00
                                    sheet to evaluate the changes in each subtotal of
                                    accounts for the balance sheet, concurrently preparing
                                    questions for Lordstown if there were changes over a
                                    specific threshold.
 Melina Lynn             01/10/24   (1.9) Breakout 4 different Lordstown expense                 1.9    $ 250   $      475.00
                                    populations necessary for sampling / testing,
                                    concurrently reconciling to the trial balance / JET
                                    report to confirm the amounts in the population are the
                                    same as those financial statements.
 Sara Rufo               01/10/24   (2.5) Senior Manager review, as of 01/10/24, of              2.5    $ 400   $    1,000.00
                                    Lordstown substantive audit approach.
 Melina Lynn             01/11/24   Documented the information collected from the                0.6    $ 250   $      150.00
                                    probing inquiry meetings over Procure to pay
                                    procedures into a standardized memo (0.3),
                                    incorporated the documented memos / flowcharts for
                                    these processes into the KCw Lordstown audit file
                                    (0.3).
 Melina Lynn             01/11/24   (0.7) Continue, as of 01/11/24, to document the              0.7    $ 250   $      175.00
                                    revisions necessary for the legal confirmation for
                                    Lordstown to be sent to 3rd party law firms.
 Melina Lynn             01/11/24   (0.8) Review, as of 01/11/24, the Lordstown trial            0.8    $ 250   $      200.00
                                    balance along with KCw updates for accuracy.
 Sara Rufo               01/11/24   (1.0) Communicate via email with client to receive           1.0    $ 400   $      400.00
                                    updates, as of 01/11/24, on ongoing close process.
 Amanda Delaney          01/11/24   1.2 Document control considerations for Lordstown            1.2    $ 300   $      360.00
                                    including assessment of internal audit, service
                                    organizations, change from PY ICFR to FSA.
 Amanda Delaney          01/11/24   Continue, as of 01/11/24, to review legal letters from       1.3    $ 300   $      390.00
                                    third party law firm as well as the equity third party
                                    transfer agent confirmation to be sent to support the
                                    legal / equity substantive procedures to verify ongoing
                                    litigation to be disclosed in Lordstown 10K.




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 Melina Lynn             01/11/24   (2.1) Researched, as of 01/11/24, the standardized           2.1    $ 250   $       525.00
                                    procedure for bank confirmations as well as the
                                    previous Extend requests to determine how the
                                    engagement team will perform Bank confirmations for
                                    Lordstown.
 Melina Lynn             01/11/24   Continue, as of 01/11/24 , to use the trial balance          3.3    $ 250   $       825.00
                                    layout to create a final analytics sheet to evaluate the
                                    changes in each subtotal of accounts for the balance
                                    sheet, income statement, and statement of cash flows,
                                    concurrently documenting questions for Lordstown if
                                    there were changes over a specific threshold.
 Sara Rufo               01/12/24   (0.5) Additional communications via email, as of             0.5    $ 400   $       200.00
                                    1/12/24, with client to receive updates on ongoing
                                    close process.
 Melina Lynn             01/12/24   Removed estimate over Lordstown treasury                     0.5    $ 250   $       125.00
                                    procedures from audit file as it is not applicable to the
                                    current year end audit.
 Amanda Delaney          01/12/24   Review the status of the audit, as of 1/12,24 focusing       1.0    $ 300   $       300.00
                                    on next steps, as well as identifying screens within
                                    KCw that could be prepared by the engagement team
 Amanda Delaney          01/12/24   Continue, as of 01/12/24, to reconcile Lordstown             1.1    $ 300   $       330.00
                                    expense population to their trial balance, concurrently
                                    investigating the differences identified to verify the
                                    balance of expenses at year end / to verify the
                                    expenses population provided to the team was
                                    complete.
 Melina Lynn             01/12/24   Continue, as of 01/12/24, utilizing the trial balance        1.4    $ 250   $       350.00
                                    layout in order to create a final analytics sheet to
                                    evaluate the changes in each subtotal of accounts for
                                    the statement of cash flows, concurrently documenting
                                    questions to Lordstown if there were changes over a
                                    specific threshold.
 Melina Lynn             01/12/24   Clear review comments, as of 01/12/24, related to            1.7    $ 250   $       425.00
                                    Lordstown entity level controls including the
                                    procedures performed over the risk of these controls.
 Melina Lynn             01/12/24   Researched, as of 01/12/24, the reasons why the              2.0    $ 250   $       500.00
                                    changes in the final analytics evaluations over
                                    Lordstown Income Statement / Balance sheet occurred
                                    on 2023, concurrently providing comments for these
                                    fluxes (Any changes that KPMG was unsure of, we
                                    sent to the client for explanations).




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 Melina Lynn             01/12/24   Continue, as of 01/12/24, to research the standardized      2.4    $ 250   $       600.00
                                    procedure for bank confirmations as well as the
                                    previous Extend requests to determine how the
                                    engagement team will perform Bank confirmations for
                                    Lordstown.
 Amanda Delaney          01/12/24   Senior Associate review, as of 01/12/24, the                3.9    $ 300   $    1,170.00
                                    CERAMIC section of the KCw file to verify
                                    Lordstown's internal control environment is
                                    appropriate during the year under audit.
 Melina Lynn             01/15/24   (0.2) Updated, as of 01/15/24, the income statement         0.2    $ 250   $        50.00
                                    analytics changes based on comments from the client.
 Melina Lynn             01/15/24   Update, as of 01/15/24, the authorized signor for the       0.3    $ 250   $        75.00
                                    legal letter confirmations to confirm the correct signor
                                    was documented for confirmation of legal matters
                                    related to Lordstown.
 Amanda Delaney          01/15/24   (0.4) Call to discuss the status, as of 01/15/24, of        0.4    $ 300   $       120.00
                                    Lordstown audit and to brainstorm around fraud risk
                                    assessment (required audit procedure) for journal entry
                                    approach relating to the risk of management override
                                    before we discuss with KPMG Specialist with A.
                                    Delaney, S. Rufo, S. Stelk (KPMG).
 Sara Rufo               01/15/24   (0.4) Call to discuss the status, as of 01/15/24, of        0.4    $ 400   $       160.00
                                    Lordstown audit and to brainstorm around fraud risk
                                    assessment (required audit procedure) for journal entry
                                    approach relating to the risk of management override
                                    before we discuss with KPMG Specialist with A.
                                    Delaney, S. Rufo, S. Stelk (KPMG).
 Scott Stelk             01/15/24   (0.4) Call to discuss the status, as of 01/15/24, of        0.4    $ 500   $       200.00
                                    Lordstown audit and to brainstorm around fraud risk
                                    assessment (required audit procedure) for journal entry
                                    approach relating to the risk of management override
                                    before we discuss with KPMG Specialist with A.
                                    Delaney, S. Rufo, S. Stelk (KPMG).
 Melina Lynn             01/15/24   Prepare the instruction to the OKE team to be sent          0.4    $ 250   $       100.00
                                    with the request to generate the CAM required
                                    workpaper documentation for Lordstown.
 Sara Rufo               01/15/24   (0.5) Senior Manager review, as of 01/15/24, of             0.5    $ 400   $       200.00
                                    Lordstown audit workpaper documentation focusing
                                    on a walkthrough documentation.
 Melina Lynn             01/15/24   Using the amounts from the current version trial            0.6    $ 250   $       150.00
                                    balance from client, updated, as of 01/15/24, the Trial
                                    balance in the audit file with most current numbers.




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 Amanda Delaney          01/15/24   (0.8) Senior Associate review, as of 01/15/24, of         0.8    $ 300   $       240.00
                                    Equity and Payroll risk screens to verify the
                                    engagement team was testing appropriate risks related
                                    to Lordstown's processes.
 Melina Lynn             01/15/24   (1.1) Updated, as of 01/15/24, the cash flow analytics    1.1    $ 250   $       275.00
                                    with amounts extracted from the JET report provided
                                    by the client.
 Amanda Delaney          01/15/24   (1.7) Senior Associate review, as of 01/15/24, to f he    1.7    $ 300   $       510.00
                                    KCw file with the updated next steps from Lordstown
                                    management to determine if the KCw project plan
                                    needed to be updated accordingly.
 Melina Lynn             01/15/24   Break out the new expense population provided by the      2.1    $ 250   $       525.00
                                    client, as of 1/15/24, into different populations in
                                    order to sample RD, SGA, Other Operating expenses,
                                    and Personnel Expenses.
 Amanda Delaney          01/15/24   Senior Associate review, as of 01/15/24, the updated      2.1    $ 300   $       630.00
                                    Lordstown trial balance to verify the information was
                                    appropriate for the engagement team to start tying out
                                    detail files that we plan to test (1.8). Updated the
                                    presentation of the trial balance (0.3)
 Amanda Delaney          01/15/24   (3.0) Senior Associate review, as of 01/15/24, of         3.0    $ 300   $       900.00
                                    Lordstown scrubbed expense populations to verify the
                                    expense population provided to the engagement team
                                    was complete, concurrently identifying the additional
                                    scrubbing the team was required to perform.
 Melina Lynn             01/15/24   Clear, as of 01/15/24, the review comments related to     3.3    $ 250   $       825.00
                                    the Lordstown audit plan screen as well as the payroll
                                    risks screen.
 Amanda Delaney          01/16/24   (0.3) Call to discuss fraud risk factors possibly         0.3    $ 300   $        90.00
                                    affecting the company as well as brainstorming high
                                    risk journal entry criteria specific to Lordstown with
                                    A. Delaney, S. Rufo, D. Varnish, B. Nemeth, P.
                                    Bradford, S. Stelk (KPMG).
 Bradley Nemeth          01/16/24   (0.3) Call to discuss fraud risk factors possibly         0.3    $ 470   $       141.00
                                    affecting the company as well as brainstorming high
                                    risk journal entry criteria specific to Lordstown with
                                    A. Delaney, S. Rufo, D. Varnish, B. Nemeth, P.
                                    Bradford, S. Stelk (KPMG).
 Peter Bradford          01/16/24   (0.3) Call to discuss fraud risk factors possibly         0.3    $ 500   $       150.00
                                    affecting the company as well as brainstorming high
                                    risk journal entry criteria specific to Lordstown with
                                    A. Delaney, S. Rufo, D. Varnish, B. Nemeth, P.
                                    Bradford, S. Stelk (KPMG).



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 Sara Rufo               01/16/24   (0.3) Call to discuss fraud risk factors possibly           0.3    $ 400   $       120.00
                                    affecting the company as well as brainstorming high
                                    risk journal entry criteria specific to Lordstown with
                                    A. Delaney, S. Rufo, D. Varnish, B. Nemeth, P.
                                    Bradford, S. Stelk (KPMG).
 Scott Stelk             01/16/24   (0.3) Call to discuss fraud risk factors possibly           0.3    $ 500   $       150.00
                                    affecting the company as well as brainstorming high
                                    risk journal entry criteria specific to Lordstown with
                                    A. Delaney, S. Rufo, D. Varnish, B. Nemeth, P.
                                    Bradford, S. Stelk (KPMG).
 Amanda Delaney          01/16/24   (0.5) Call to discuss outstanding items, as of 01/16/24,    0.5    $ 300   $       150.00
                                    needed from client as well as items that KPMG will be
                                    sending to them for Lordstown to return with A.
                                    Delaney, S. Rufo, M. Lynn (KPMG), K. Moser, M.
                                    Port (Lordstown).
 Melina Lynn             01/16/24   (0.5) Call to discuss outstanding items, as of 01/16/24,    0.5    $ 250   $       125.00
                                    needed from client as well as items that KPMG will be
                                    sending to them for Lordstown to return with A.
                                    Delaney, S. Rufo, M. Lynn (KPMG), K. Moser, M.
                                    Port (Lordstown).
 Sara Rufo               01/16/24   (0.5) Call to discuss outstanding items, as of 01/16/24,    0.5    $ 400   $       200.00
                                    needed from client as well as items that KPMG will be
                                    sending to them for Lordstown to return with A.
                                    Delaney, S. Rufo, M. Lynn (KPMG), K. Moser, M.
                                    Port (Lordstown).
 Bradley Nemeth          01/16/24   (0.5) Director review, as of 01/16/24, of bankruptcy        0.5    $ 470   $       235.00
                                    related fraud risk factors, concurrently preparing for
                                    fraud risk discussion.
 Alexandra Williams      01/16/24   (0.5) Meeting with K. Grapperhaus, A. Williams, and         0.5    $ 765   $       382.50
                                    D. Garza (KPMG) regarding disclosure of going
                                    concern in the 2023 Lordstown financial statements.
 Darcie Garza            01/16/24   (0.5) Meeting with K. Grapperhaus, A. Williams, and         0.5    $ 765   $       382.50
                                    D. Garza (KPMG) regarding disclosure of going
                                    concern in the 2023 Lordstown financial statements.
 Ken Grapperhaus         01/16/24   (0.5) Meeting with K. Grapperhaus, A. Williams, and         0.5    $ 765   $       382.50
                                    D. Garza (KPMG) regarding disclosure of going
                                    concern in the 2023 Lordstown financial statements.
 Alexandra Williams      01/16/24   (0.5) Summarize previous conversations related to           0.5    $ 765   $       382.50
                                    going concern for meeting with K. Grapperhaus A.
                                    Williams, and D. Garza (KPMG).
 Melina Lynn             01/16/24   Updated, as of 01/16/24, the legal letters to be sent       0.6    $ 250   $       150.00
                                    client in order to receive the LMC letterhead before
                                    they are sent to third parties for confirmation.



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 Amanda Delaney          01/16/24   Updated, as of 01/16/24, the RAPD screen (0.2),              0.6    $ 300   $       180.00
                                    drafted the RAPD agenda in preparation of Lordstown
                                    engagement team Risk Assessment and Planning
                                    discussion (0.4).
 Melina Lynn             01/16/24   Document what items are needed from the client as            0.8    $ 250   $       200.00
                                    well as what items are we ready to deliver to the client
                                    as of 1/16.
 Melina Lynn             01/16/24   Reviewed, as of 01/16/24, the outstanding Board              0.8    $ 250   $       200.00
                                    minutes from the client to be uploaded to the KCw
                                    audit file to confirm that the audit team is aware of the
                                    disclosures related to the company for the 2023 audit
                                    year.
 Amanda Delaney          01/16/24   (0.9) Incorporated more information to the Equity            0.9    $ 300   $       270.00
                                    series around updates to the company's agreement
                                    regarding their preferred shares to confirm that the
                                    engagement team's file was up to date in relation to
                                    information over Lordstown's preferred share activity
                                    as of 1/16/24,
 Melina Lynn             01/16/24   Updated, concurrently clearing, as of 01/16/24, review       1.3    $ 250   $       325.00
                                    comments related to the audit planning screen to make
                                    changes that accurately describe our Lordstown audit
                                    plan procedures for the 2023 audit.
 Melina Lynn             01/16/24   Provide comments around the changes on the cash              1.8    $ 250   $       450.00
                                    flow financial statement from last year to this year
                                    using the JET report provided by M. Port (Lordstown).
 Amanda Delaney          01/16/24   (2.1) Documented the engagement team's required              2.1    $ 300   $       630.00
                                    assessment around Lordstown's fraud risks based on
                                    discussions with KPMG Specialist team.
 Amanda Delaney          01/16/24   (2.2) Senior Associate review, as of 01/16/24, of            2.2    $ 300   $       660.00
                                    Lordstown's expense population, concurrently
                                    inspecting entries for offsets to identify an expense
                                    population we can sample to eventually verify the
                                    balances of expenses of year end.
 Amanda Delaney          01/16/24   (2.4) Continue, from earlier on 01/16/24, Senior             2.4    $ 300   $       720.00
                                    Associate review of Lordstown's expense population,
                                    concurrently inspecting entries for offsets to identify
                                    an expense population we can sample to eventually
                                    verify the balances of expenses of year end.
 Melina Lynn             01/16/24   Continue, as of 01/16/24, to break out the new               3.4    $ 250   $       850.00
                                    expense population provided by the client into
                                    different populations in order to sample RD, SGA,
                                    Other Operating expenses, and Personnel Expenses.




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 Amanda Delaney          01/17/24   (0.4) Senior Associate review, as of 01/17/24, of the      0.4    $ 300   $       120.00
                                    Business Process Screen in the risk assessment section
                                    to verify accuracy of the information documented
                                    related to Lordstown's business process.
 Sara Rufo               01/17/24   0.5 Continue, as of 01/17/24, to update YE audit plan      0.5    $ 400   $       200.00
                                    to provide client with updated YE Audit timeline.
 Melina Lynn             01/17/24   Import finalized third party legal confirmations into      0.6    $ 250   $       150.00
                                    the audit file to document the versions that were sent
                                    out.
 Mark Schierholt         01/17/24   (0.8) Call to discuss updated 10K next steps and           0.8    $ 450   $       360.00
                                    update, as of 01/17/24, on ongoing Lordstown matters
                                    with M. Schierholt, S. Stelk (KPMG) and B. Sauer
                                    (Deloitte), J. Spreen, M. Leonard (Baker), M. Port, A.
                                    Kroll (Lordstown).
 Scott Stelk             01/17/24   (0.8) Call to discuss updated 10K next steps and           0.8    $ 500   $       400.00
                                    update, as of 01/17/24, on ongoing Lordstown matters
                                    with M. Schierholt, S. Stelk (KPMG) and B. Sauer
                                    (Deloitte), J. Spreen, M. Leonard (Baker), M. Port, A.
                                    Kroll (Lordstown).
 Amanda Delaney          01/17/24   (0.8) Updated, as of 01/17/24, the journal entry plan      0.8    $ 300   $       240.00
                                    screen for Lordstown based of discussion with KPMG
                                    Specialist.
 Sara Rufo               01/17/24   1.0 Document the Technical Accounting memo as part         1.0    $ 400   $       400.00
                                    of YE audit documentation around company’s
                                    (Lordstown) bankruptcy / sale of assets.
 Scott Stelk             01/17/24   1.7 Partner review, as of 01/17/24, of Lordstown audit     1.7    $ 500   $       850.00
                                    next steps / audit plan due to the acceleration of the
                                    planned audit timeline.
 Sara Rufo               01/17/24   2.0 Senior Manager review, as of 01/17/24, of              2.0    $ 400   $       800.00
                                    substantive audit approach including the selections
                                    made.
 Melina Lynn             01/17/24   Scrub all expense populations (R&D, SGA, Personnel,        2.6    $ 250   $       650.00
                                    and Other Operating expenses) further to remove
                                    offsetting transactions (1.5), then run each population
                                    through MUS (sample generating software within
                                    KCw) to aggregate samples of positives / negatives to
                                    send to the client (1.1).




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 Melina Lynn             01/17/24   Continue, from earlier on 01/17/24, to scrub all           2.8    $ 250   $       700.00
                                    expense populations (R&D, SGA, Personnel, and
                                    Other Operating expenses) further to remove offsetting
                                    transactions (1.3), then run each population through
                                    MUS (sample generating software within KCw) to
                                    obtain samples of positives / negatives to send to the
                                    client (1.5).
 Melina Lynn             01/17/24   Continue, from earlier on 01/17/24, to scrub all           3.1    $ 250   $       775.00
                                    expense populations (R&D, SGA, Personnel, and
                                    Other Operating expenses) further to remove offsetting
                                    transactions (1.0), then run each population through
                                    MUS (sample generating software within KCw) to
                                    aggregate samples of positives / negatives to send to
                                    the client (2.1).
 Amanda Delaney          01/17/24   (1.2) Finalize the manual scrubbing of the Lordstown       3.2    $ 300   $       960.00
                                    Expense populations; (1.5) created the presentation to
                                    ran the populations through MUS; (0.5) drafted email
                                    to send to LMC requesting support for expense
                                    selections as a part of testing the balance of expenses
                                    at year end.
 Amanda Delaney          01/17/24   (3.9) Begin to finalize the manual scrubbing of            3.9    $ 300   $    1,170.00
                                    Lordstown Expense populations as a part of testing the
                                    balance of expenses at year end.
 Melina Lynn             01/18/24   Populate Litigation Risk and Response screens within       0.3    $ 250   $        75.00
                                    the audit file to document current legal matters at
                                    LMC.
 Melina Lynn             01/18/24   Update, as of 01/18/24, the new version of the trial       0.4    $ 250   $       100.00
                                    balance based on the changes made by the client to the
                                    amounts within the trial balance (0.2), create the
                                    presentation to reflect the subtotals within the trial
                                    balance to calculate amounts in each account for 2023
                                    for input into the KCw audit file (0.2).
 Darrin Schultz          01/18/24   (0.5) Discussion with EQCR on status, as of 01/18/24,      0.5    $ 500   $       250.00
                                    of Bankruptcy proceeding & general audit
                                    considerations for Lordstown with S. Rufo, D. Schultz
                                    (KPMG).
 Scott Stelk             01/18/24   (0.5) Discussion with EQCR on status, as of 01/18/24,      0.5    $ 500   $       250.00
                                    of Bankruptcy proceeding & general audit
                                    considerations for Lordstown with S. Rufo, D. Schultz
                                    (KPMG).




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 Amanda Delaney          01/18/24   (0.5) Prepare external legal letters, as of 01/18/24, to    0.5    $ 300   $       150.00
                                    be sent to third party law firms to verify the ongoing
                                    litigation Lordstown Motors was involved in during
                                    the year as this information is needed to be disclosed
                                    in financials.
 Amanda Delaney          01/18/24   (0.6) Documented our plan around testing legal              0.6    $ 300   $       180.00
                                    settlements / overall legal expenses for Lordstown to
                                    confirm our testing within the litigation business
                                    process is appropriate based on risks identified.
 Melina Lynn             01/18/24   Check for differences, as of 01/18/24, in the Journal       0.7    $ 250   $       175.00
                                    Entries population given to us by the client against the
                                    activity in the trial balance, concurrently aggregating
                                    information on the differences to ask the client about.
 Melina Lynn             01/18/24   Documented the reasoning for sending a third party          0.8    $ 250   $       200.00
                                    confirmation over equity (0.2) and reviewed the
                                    returned confirmation (0.2), documented the nature of
                                    the confirmation to verify the shares disclosed in the
                                    returned confirmation match the trial balance KPMG
                                    has from LMC management (0.4).
 Melina Lynn             01/18/24   Populate property, plant and equipment Risk and             0.9    $ 250   $       225.00
                                    Response screens within the audit file to document
                                    current PP&E matters at LMC.
 Melina Lynn             01/18/24   Populate Inventory Risk and Response screens within         1.0    $ 250   $       250.00
                                    the audit file to document current inventory matters at
                                    LMC.
 Amanda Delaney          01/18/24   (1.2) Review, as of 01/18/24, Lordstown Additions to        1.2    $ 300   $       360.00
                                    AP listing / Cash disbursement listings to
                                    verify/confirm completeness as we used these listings
                                    to select samples for the Search for Unrecorded
                                    liabilities.
 Amanda Delaney          01/18/24   (1.6) Updated, as of 01/18/24, a timeline per client        1.6    $ 300   $       480.00
                                    request in order to confirm due dates for requests as
                                    well as dates the team needs the 10K including the
                                    related support.
 Melina Lynn             01/18/24   Update, as of 01/18/24, the entity level controls           1.7    $ 250   $       425.00
                                    screens based on inquiry responses from M, Leonard
                                    (Lordstown).
 Amanda Delaney          01/18/24   Created the layout of the PPE rollforward (0.7),            1.9    $ 300   $       570.00
                                    document our plan over Lordstown depreciation
                                    expense testing / gain on sale testing (1.2).




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 Melina Lynn             01/18/24   Using the disbursements population / additions to AP       2.0    $ 250   $       500.00
                                    Population, selected samples above AMPT / other
                                    random line items to send to the client for evidence
                                    over the Search For Unrecorded Liabilities procedure
                                    testing.
 Amanda Delaney          01/18/24   Using journal entry population from Lordstown,             3.8    $ 300   $    1,140.00
                                    investigated differences into the TB rollforward (3.3);
                                    communicated via email to client over differences
                                    (0.5).
 Amanda Delaney          01/19/24   (0.4) Call to conduct RAPD meeting for all members         0.4    $ 300   $       120.00
                                    engaged on Lordstown Motors Corp. to detail
                                    expectations and risk items as we conduct the audit
                                    with M. Lynn, A. Delaney, T. Hallock, T. Hickey, J.
                                    Hintz, B. Lancy, M. Liang, G. Mancini, B. Nemeth, D.
                                    Rehrauer, S. Rufo, M. Schierholt, D. Shultz, S. Stelk,
                                    D. Varnish (KPMG).
 Bradley Lancy           01/19/24   (0.4) Call to conduct RAPD meeting for all members         0.4    $ 500   $       200.00
                                    engaged on Lordstown Motors Corp. to detail
                                    expectations and risk items as we conduct the audit
                                    with M. Lynn, A. Delaney, T. Hallock, T. Hickey, J.
                                    Hintz, B. Lancy, M. Liang, G. Mancini, B. Nemeth, D.
                                    Rehrauer, S. Rufo, M. Schierholt, D. Shultz, S. Stelk,
                                    D. Varnish (KPMG).
 Bradley Nemeth          01/19/24   (0.4) Call to conduct RAPD meeting for all members         0.4    $ 470   $       188.00
                                    engaged on Lordstown Motors Corp. to detail
                                    expectations and risk items as we conduct the audit
                                    with M. Lynn, A. Delaney, T. Hallock, T. Hickey, J.
                                    Hintz, B. Lancy, M. Liang, G. Mancini, B. Nemeth, D.
                                    Rehrauer, S. Rufo, M. Schierholt, D. Shultz, S. Stelk,
                                    D. Varnish (KPMG).
 Dan Varnish             01/19/24   (0.4) Call to conduct RAPD meeting for all members         0.4    $ 300   $       120.00
                                    engaged on Lordstown Motors Corp. to detail
                                    expectations and risk items as we conduct the audit
                                    with M. Lynn, A. Delaney, T. Hallock, T. Hickey, J.
                                    Hintz, B. Lancy, M. Liang, G. Mancini, B. Nemeth, D.
                                    Rehrauer, S. Rufo, M. Schierholt, D. Shultz, S. Stelk,
                                    D. Varnish (KPMG).




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 Darrin Schultz          01/19/24   (0.4) Call to conduct RAPD meeting for all members        0.4    $ 500   $       200.00
                                    engaged on Lordstown Motors Corp. to detail
                                    expectations and risk items as we conduct the audit
                                    with M. Lynn, A. Delaney, T. Hallock, T. Hickey, J.
                                    Hintz, B. Lancy, M. Liang, G. Mancini, B. Nemeth, D.
                                    Rehrauer, S. Rufo, M. Schierholt, D. Shultz, S. Stelk,
                                    D. Varnish (KPMG).
 John Hintz              01/19/24   (0.4) Call to conduct RAPD meeting for all members        0.4    $ 250   $       100.00
                                    engaged on Lordstown Motors Corp. to detail
                                    expectations and risk items as we conduct the audit
                                    with M. Lynn, A. Delaney, T. Hallock, T. Hickey, J.
                                    Hintz, B. Lancy, M. Liang, G. Mancini, B. Nemeth, D.
                                    Rehrauer, S. Rufo, M. Schierholt, D. Shultz, S. Stelk,
                                    D. Varnish (KPMG).
 Mark Schierholt         01/19/24   (0.4) Call to conduct RAPD meeting for all members        0.4    $ 450   $       180.00
                                    engaged on Lordstown Motors Corp. to detail
                                    expectations and risk items as we conduct the audit
                                    with M. Lynn, A. Delaney, T. Hallock, T. Hickey, J.
                                    Hintz, B. Lancy, M. Liang, G. Mancini, B. Nemeth, D.
                                    Rehrauer, S. Rufo, M. Schierholt, D. Shultz, S. Stelk,
                                    D. Varnish (KPMG).
 Melina Lynn             01/19/24   (0.4) Call to conduct RAPD meeting for all members        0.4    $ 250   $       100.00
                                    engaged on Lordstown Motors Corp. to detail
                                    expectations and risk items as we conduct the audit
                                    with M. Lynn, A. Delaney, T. Hallock, T. Hickey, J.
                                    Hintz, B. Lancy, M. Liang, G. Mancini, B. Nemeth, D.
                                    Rehrauer, S. Rufo, M. Schierholt, D. Shultz, S. Stelk,
                                    D. Varnish (KPMG).
 Memory Liang            01/19/24   (0.4) Call to conduct RAPD meeting for all members        0.4    $ 470   $       188.00
                                    engaged on Lordstown Motors Corp. to detail
                                    expectations and risk items as we conduct the audit
                                    with M. Lynn, A. Delaney, T. Hallock, T. Hickey, J.
                                    Hintz, B. Lancy, M. Liang, G. Mancini, B. Nemeth, D.
                                    Rehrauer, S. Rufo, M. Schierholt, D. Shultz, S. Stelk,
                                    D. Varnish (KPMG).
 Sara Rufo               01/19/24   (0.4) Call to conduct RAPD meeting for all members        0.4    $ 400   $       160.00
                                    engaged on Lordstown Motors Corp. to detail
                                    expectations and risk items as we conduct the audit
                                    with M. Lynn, A. Delaney, T. Hallock, T. Hickey, J.
                                    Hintz, B. Lancy, M. Liang, G. Mancini, B. Nemeth, D.
                                    Rehrauer, S. Rufo, M. Schierholt, D. Shultz, S. Stelk,
                                    D. Varnish (KPMG).




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 Scott Stelk             01/19/24   (0.4) Call to conduct RAPD meeting for all members        0.4    $ 500   $       200.00
                                    engaged on Lordstown Motors Corp. to detail
                                    expectations and risk items as we conduct the audit
                                    with M. Lynn, A. Delaney, T. Hallock, T. Hickey, J.
                                    Hintz, B. Lancy, M. Liang, G. Mancini, B. Nemeth, D.
                                    Rehrauer, S. Rufo, M. Schierholt, D. Shultz, S. Stelk,
                                    D. Varnish (KPMG).
 Thomas Hickey           01/19/24   (0.4) Call to conduct RAPD meeting for all members        0.4    $ 350   $       140.00
                                    engaged on Lordstown Motors Corp. to detail
                                    expectations and risk items as we conduct the audit
                                    with M. Lynn, A. Delaney, T. Hallock, T. Hickey, J.
                                    Hintz, B. Lancy, M. Liang, G. Mancini, B. Nemeth, D.
                                    Rehrauer, S. Rufo, M. Schierholt, D. Shultz, S. Stelk,
                                    D. Varnish (KPMG).
 Melina Lynn             01/19/24   (0.4) Perform analysis, as of 01/19/24, to determine      0.4    $ 250   $       100.00
                                    which substantive procedures for Lordstown are not
                                    necessary this year.
 Amanda Delaney          01/19/24   (0.5) Researched, as of 01/19/24, the KPMG                0.5    $ 300   $       150.00
                                    guidelines on the use of Advanced capabilities within
                                    Lordstown journal entry testing process to confirm our
                                    journal entry testing plan is in line with guidance.
 Melina Lynn             01/19/24   Update the RAPD meeting screen after the meeting to       0.6    $ 250   $       150.00
                                    document matters discussed as of 1/19/24.
 Amanda Delaney          01/19/24   (0.9) Senior Associate review, as of 01/19/24, of the     0.9    $ 300   $       270.00
                                    substantive procedures within the Lordstown KCw
                                    file, concurrently selecting which procedures needed
                                    to be extracted to verify which substantive procedures
                                    the engagement team planned on completing for the
                                    audit.
 Amanda Delaney          01/19/24   (1.3) Reviewed, as of 01/19/24, the Equity                1.3    $ 300   $       390.00
                                    confirmation received from a third party transfer
                                    agent, concurrently investigating the answers within
                                    the confirmation to assist in outstanding Lordstown
                                    shares balance as of 12/31/23.
 Amanda Delaney          01/19/24   (1.8) Updated, as of 01/19/24, Lordstown Going            1.8    $ 300   $       540.00
                                    Concern Consultation template to send to DPP for
                                    review.
 Amanda Delaney          01/19/24   (2.4) Updated, as of 01/19/24, the litigation risks       2.4    $ 300   $       720.00
                                    within the Lordstown KCw file, concurrently
                                    performing additional risk assessment within the
                                    litigation section to verify the engagement team was
                                    covering risks within our test work.




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 Melina Lynn             01/19/24   Review updates based on comments from Partner /             2.8    $ 250   $       700.00
                                    Senior Manager to adequately describe our audit
                                    procedures over the Lordstown audit, concurrently
                                    cleared review comments within all probing inquiry
                                    screens, CERAMIC control screens, Equity risk
                                    screens, Business process risk assessment screens, and
                                    audit planning screens for Lordstown.
 Melina Lynn             01/19/24   Continue, from earlier on 01/19/24, to review updates       3.3    $ 250   $       825.00
                                    based on comments from Partner / Senior Manager to
                                    more adequately describe our audit procedures over
                                    the Lordstown audit, concurrently cleared review
                                    comments within all probing inquiry screens,
                                    CERAMIC control screens, Equity risk screens,
                                    Business process risk assessment screens, and audit
                                    planning screens for Lordstown.
 Scott Stelk             01/22/24   Partner review, as of 01/22/24, of Accounting memo          0.5    $ 500   $       250.00
                                    related to evaluation of risk associated with company
                                    (Lordstown).
 Amanda Delaney          01/22/24   Drafted email communication utilizing a aggregated          0.6    $ 300   $       180.00
                                    information to client around their journal entry,
                                    depreciation / legal expense populations to verify the
                                    engagement team had all of our requests/questions to
                                    client regarding these areas so we could test these
                                    areas for the audit.
 Melina Lynn             01/22/24   Review, as of 01/22/24, Lordstown bank confirmation         0.8    $ 250   $       200.00
                                    deliverables in order to provide clarification on open
                                    requests as well as comments on requests to be closed.
 Melina Lynn             01/22/24   Review, as of 01/22/24, entity level controls,              0.9    $ 250   $       225.00
                                    concurrently determine which controls require more
                                    information from the client.
 Amanda Delaney          01/22/24   (1.0) Call to discuss items we requested from the           1.0    $ 300   $       300.00
                                    client (Lordstown) and next steps, as of 01/22/24, as to
                                    when we can expect to receive these items with S.
                                    Rufo, A. Delaney, M. Lynn (KPMG) and K. Moser,
                                    M. Port (Lordstown).
 Melina Lynn             01/22/24   (1.0) Call to discuss items we requested from the           1.0    $ 250   $       250.00
                                    client (Lordstown) and next steps, as of 01/22/24, as to
                                    when we can expect to receive these items with S.
                                    Rufo, A. Delaney, M. Lynn (KPMG) and K. Moser,
                                    M. Port (Lordstown).




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 Sara Rufo               01/22/24   (1.0) Call to discuss items we requested from the             1.0    $ 400   $       400.00
                                    client (Lordstown) and next steps, as of 01/22/24, as to
                                    when we can expect to receive these items with S.
                                    Rufo, A. Delaney, M. Lynn (KPMG) and K. Moser,
                                    M. Port (Lordstown).
 Amanda Delaney          01/22/24   Perform audit planning procedures related to LMC YE           1.0    $ 300   $       300.00
                                    audit, concurrently assisting Associates with
                                    documentation.
 Melina Lynn             01/22/24   Using the expense populations broken out, reconcile,          1.0    $ 250   $       250.00
                                    as of 01/22/24, to Lordstown original expense
                                    population to confirm accuracy.
 Melina Lynn             01/22/24   Create a substantive tracker to keep track of samples         1.3    $ 250   $       325.00
                                    that have been sent to the client for substantive testing.
 Sara Rufo               01/22/24   Senior Manager review, as of 01/22/24, of Technical           1.9    $ 400   $       760.00
                                    Accounting memo around bankruptcy impact (1.1) and
                                    review of YE audit plan deck (0.8).
 Amanda Delaney          01/22/24   Reviewed, as of 01/22/24, the client's year impairment        2.0    $ 300   $       600.00
                                    recoding to stay current with any additional write-
                                    downs throughout the year, concurrently documenting
                                    the Q1 impairment calculation within the Lordstown
                                    2023 KCw file to evidence our example of an instance
                                    of the impairment.
 Michael Sarkis          01/22/24   Prepared Specialist Understanding screens utilizing           2.1    $ 250   $       525.00
                                    PY entries to CY, concurrently document information
                                    necessary for these procedures.
 Amanda Delaney          01/22/24   Begin documenting our procedure over the clients              2.4    $ 300   $       720.00
                                    NRV calculation as well as the inventory rollforward
                                    including the additional inventory screens within KCw
                                    to appropriately test inventory as of 12/31/23.
 Michael Sarkis          01/22/24   Compared (0.7), documented (1.0), and uploaded YE             2.4    $ 250   $       600.00
                                    Management Representation Letter and Related Party
                                    Questionnaire (0.7), to send an updated CY document
                                    (based of PY) to Lordstown for signoff.
 Melina Lynn             01/22/24   Reclassify all Lordstown prepaid accounts as No risk          2.4    $ 250   $       600.00
                                    of material misstatement in the audit file by removing
                                    all downward streams of the risk as well as moving
                                    them to No RMMS.
 Amanda Delaney          01/22/24   Continue, from earlier on 01/22/24, documenting our           2.6    $ 300   $       780.00
                                    procedures over the clients NRV calculation as well as
                                    the inventory rollforward including the additional
                                    inventory screens within KCw to appropriately test
                                    inventory as of 12/31/23.




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 Michael Sarkis          01/22/24   Continue, from earlier on 01/22/24, to prepare             2.6    $ 250   $       650.00
                                    Understanding screens to perform update within KCw
                                    for Lordstown by rolling forward PY entries to CY,
                                    concurrently documenting information necessary for
                                    these procedures.
 Grace Mancini           01/23/24   Updated, as of 01/23/24, Independence tracker to           0.3    $ 250   $        75.00
                                    confirm all KPMG team members would be assessed
                                    for Independence compliance with regards to
                                    Lordstown.
 Grace Mancini           01/23/24   Vouched, as of 01/23/24, Bank Confirmations to             0.4    $ 250   $       100.00
                                    Lordstown Trial Balance to confirm that they show the
                                    same value.
 Mark Schierholt         01/23/24   (0.5) Call for update, as of 01/23/24, on Lordstown        0.5    $ 450   $       225.00
                                    bankruptcy proceedings, ongoing legal matters, and
                                    financial statement audit with S. Stelk, M. Schierholt,
                                    S. Rufo (KPMG).
 Sara Rufo               01/23/24   (0.5) Call for update, as of 01/23/24, on Lordstown        0.5    $ 400   $       200.00
                                    bankruptcy proceedings, ongoing legal matters, and
                                    financial statement audit with S. Stelk, M. Schierholt,
                                    S. Rufo (KPMG).
 Scott Stelk             01/23/24   (0.5) Call for update, as of 01/23/24, on Lordstown        0.5    $ 500   $       250.00
                                    bankruptcy proceedings, ongoing legal matters, and
                                    financial statement audit with S. Stelk, M. Schierholt,
                                    S. Rufo (KPMG).
 Amanda Delaney          01/23/24   (0.5) Call to discuss and gain an understanding over       0.5    $ 300   $       150.00
                                    the PPE rollforward the client provided and
                                    understand the specific captions used within the
                                    rollforward with A. Delaney (KPMG) and K. Moser
                                    (Lordstown).
 Amanda Delaney          01/23/24   (0.5) Cleared comments, as of 01/23/24, within the         0.5    $ 300   $       150.00
                                    Lordstown KCw file that were left to the Associate to
                                    verify our documentation over CERAMICS is
                                    appropriate.
 Mark Schierholt         01/23/24   (0.5) Discussion on changes to Lordstown due to            0.5    $ 450   $       225.00
                                    equity committee influence and audit planning
                                    discussion with S. Stelk, M. Schierholt, S. Rufo
                                    (KPMG).
 Sara Rufo               01/23/24   (0.5) Discussion on changes to Lordstown due to            0.5    $ 400   $       200.00
                                    equity committee influence and audit planning
                                    discussion with S. Stelk, M. Schierholt, S. Rufo
                                    (KPMG).




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 Scott Stelk             01/23/24   (0.5) Discussion on changes to Lordstown due to              0.5    $ 500   $       250.00
                                    equity committee influence and audit planning
                                    discussion with S. Stelk, M. Schierholt, S. Rufo
                                    (KPMG).
 Alexandra Williams      01/23/24   (0.5) Meeting with consulting team (K. Grapperhaus,          0.5    $ 765   $       382.50
                                    A. Williams, D. Garza - KPMG) and engagement team
                                    (S. Stelk, S. Rufo - KPMG) regarding disclosure of
                                    going concern in the 2023 Lordstown financial
                                    statements.
 Darcie Garza            01/23/24   (0.5) Meeting with consulting team (K. Grapperhaus,          0.5    $ 765   $       382.50
                                    A. Williams, D. Garza - KPMG) and engagement team
                                    (S. Stelk, S. Rufo - KPMG) regarding disclosure of
                                    going concern in the 2023 Lordstown financial
                                    statements.
 Ken Grapperhaus         01/23/24   (0.5) Meeting with consulting team (K. Grapperhaus,          0.5    $ 765   $       382.50
                                    A. Williams, D. Garza - KPMG) and engagement team
                                    (S. Stelk, S. Rufo - KPMG) regarding disclosure of
                                    going concern in the 2023 Lordstown financial
                                    statements.
 Sara Rufo               01/23/24   (0.5) Meeting with consulting team (K. Grapperhaus,          0.5    $ 400   $       200.00
                                    A. Williams, D. Garza - KPMG) and engagement team
                                    (S. Stelk, S. Rufo - KPMG) regarding disclosure of
                                    going concern in the 2023 Lordstown financial
                                    statements.
 Scott Stelk             01/23/24   (0.5) Meeting with consulting team (K. Grapperhaus,          0.5    $ 500   $       250.00
                                    A. Williams, D. Garza - KPMG) and engagement team
                                    (S. Stelk, S. Rufo - KPMG) regarding disclosure of
                                    going concern in the 2023 Lordstown financial
                                    statements.
 Amanda Delaney          01/23/24   (0.7) Began to document, as of 01/23/24, the                 0.7    $ 300   $       210.00
                                    Lordstown Journal Entry completeness / high risk
                                    criteria testing to appropriately test journal entries as
                                    of 12/31/23.
 Melina Lynn             01/23/24   Review, as of 01/23/24, the sample support provided          0.8    $ 250   $       200.00
                                    by the client for R&D expenses, concurrently creating
                                    test work template to log details of this support to
                                    confirm the deliverables from the client are
                                    appropriate per what we requested of them.
 Amanda Delaney          01/23/24   (1.0) Assess audit team status, as of 1/23/24, and next      1.0    $ 300   $       300.00
                                    steps in addition to identifying screens within KCw
                                    that could be prepared by the engagement team




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 Amanda Delaney          01/23/24   (1.0) Reviewed the status, as of 01/23/24, of                1.0    $ 300   $       300.00
                                    substantive samples and outstanding requests to
                                    discuss with the client on our status update call.
 Amanda Delaney          01/23/24   (1.1) Updated, as of 01/23/24, the LMC substantive           1.1    $ 300   $       330.00
                                    procedure along with other requests schedule provided
                                    by the engagement team to LMC to aggregate the
                                    status of requests.
 Sara Rufo               01/23/24   Senior Manager review, as of 01/23/24, of Lordstown          1.4    $ 400   $       560.00
                                    YE audit workpaper documentation including
                                    sampling procedures.
 Grace Mancini           01/23/24   Updated, as of 01/23/24, the Design TOD screens to           1.4    $ 250   $       350.00
                                    prepare for substantive procedure for Lordstown.
 Grace Mancini           01/23/24   Vouched Offsetting R&D operating expenses sample             1.8    $ 250   $       450.00
                                    to supporting documentation received from the client
                                    to confirm they show the same value.
 Melina Lynn             01/23/24   Audit planning to prioritize time sensitive items and        2.0    $ 250   $       500.00
                                    next steps related to the Lordstown Audit as of
                                    1/23/24.
 Michael Sarkis          01/23/24   Utilized KPMG templates for the related party                2.0    $ 250   $       500.00
                                    questionnaire as well as Lordstown management
                                    representation letter based on matters related to the
                                    company to update, as of 01/23/24, the current
                                    templates from ALex, concurrently finalizing it to
                                    what Lordstown needed.
 Melina Lynn             01/23/24   Prepare instructions for the OKE team regarding              2.1    $ 250   $       525.00
                                    project plan updates (0.8). Review, as of 01/23/24, the
                                    deliverables related to updating financial statement
                                    balances in the audit file to reflect PY /CY amounts
                                    for the LMC audit, concurrently performing necessary
                                    updates (1.3).
 Michael Sarkis          01/23/24   Reviewed, as of 01/23/24, the support for R&D Other          2.3    $ 250   $       575.00
                                    Operating Expenses, concurrently completing test
                                    work necessary for the processes (i.e. vouching) (1.5).
                                    Identified items still outstanding from the client to
                                    inquire about later (0.8).
 Melina Lynn             01/23/24   Continue, as of 01/23/24, utilizing the expense              2.8    $ 250   $       700.00
                                    populations broken out, reconciling them to
                                    Lordstown original expense population to confirm
                                    accuracy.
 Amanda Delaney          01/23/24   (3.2) Document our approach to Lordstown PPE                 3.2    $ 300   $       960.00
                                    rollforward as well as how to test all the entries in the
                                    PPE rollforward to verify we are appropriately testing
                                    PPE as of 12/31/23.



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 Michael Sarkis          01/23/24   Continue, from earlier on 01/23/24, to review the            3.2    $ 250   $       800.00
                                    support for R&D Other Operating Expenses,
                                    concurrently completing test work necessary for the
                                    processes (i.e. vouching) (2.0). Identified items still
                                    outstanding from the client to inquire about later (1.2).
 Mark Schierholt         01/24/24   (0.2) Managing Director review, as of 01/24/24, of           0.2    $ 450   $        90.00
                                    LMC YE project plan and next steps.
 Amanda Delaney          01/24/24   (0.3) Review, as of 01/24/24, the returned third party       0.3    $ 300   $        90.00
                                    transfer agent confirmation as well as follow up to
                                    same third party transfer agent for an updated equity
                                    confirmation to verify the balance of equity at year
                                    end.
 Amanda Delaney          01/24/24   (0.4) Compared, as of 01/24/24, an old version of the        0.4    $ 300   $       120.00
                                    balance sheet to an updated version sent by the client
                                    to verify any changes as well as confirm with the client
                                    we had the most updated trial balance.
 Grace Mancini           01/24/24   Prepare a request, as of 1/24/24, to have the review         0.4    $ 250   $       100.00
                                    assignments for Partners updated in KCw to confirm
                                    that each aspect of the Lordstown audit is effectively
                                    reviewed at the Partner level.
 Michael Sarkis          01/24/24   (0.5) Continue, as of 01/24/24, to review R&D                0.5    $ 250   $       125.00
                                    expense support that was completed by the KPMG
                                    team based off of support we received from the client,
                                    concurrently identify which items we needed more
                                    support from the client.
 Amanda Delaney          01/24/24   (0.5) Finalized, as of 01/24/24, the PPE procedures the      0.5    $ 300   $       150.00
                                    engagement team was to perform to verify we had an
                                    appropriate support to test PPE.
 Melina Lynn             01/24/24   Review, as of 01/24/24, the returned legal                   0.5    $ 250   $       125.00
                                    confirmation letter to confirm disclosures within are
                                    accurate in regards to the client.
 Melina Lynn             01/24/24   Draft cash confirmation in preparation for sending to a      0.6    $ 250   $       150.00
                                    certain bank to verify the amount in the client's
                                    Primary Brokerage account at 12/31/23.
 Grace Mancini           01/24/24   Prepare independence workpaper documentation                 0.6    $ 250   $       150.00
                                    including confirmations from engagement team
                                    members as part of required LMC YE audit
                                    procedures.
 Melina Lynn             01/24/24   Create Lordstown substantive procedure in the audit          0.7    $ 250   $       175.00
                                    file for our testing over Legal and Settlement
                                    expenses.




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 Grace Mancini           01/24/24   Reviewed, as of 01/24/24, the trial balance provided         0.7    $ 250   $       175.00
                                    by Lordstown, concurrently updating the trial balance
                                    in KCw to confirm audit team has the most current
                                    information available.
 Scott Stelk             01/24/24   0.8 Discussion with M. Schierholt and S. Stelk               0.8    $ 500   $       400.00
                                    (KPMG) to discuss ongoing Lordstown audit and next
                                    steps, as of 01/24/24, between Partner group as part of
                                    audit plan.
 Grace Mancini           01/24/24   Confirmed bank balance for brokerage account with a          0.8    $ 250   $       200.00
                                    certain bank as part of the engagement team’s
                                    response to the risk of material misstatement that cash
                                    accounts are not accurately reported.
 Melina Lynn             01/24/24   Review, as of 01/24/24, the screens related to treasury      1.0    $ 250   $       250.00
                                    test work / results of the testing along with the
                                    conclusion over treasury procedures in advance of sign
                                    off.
 Amanda Delaney          01/24/24   (1.7) Senior Associate review, as of 01/24/24, of            1.7    $ 300   $       510.00
                                    procedures related to liabilities subject to compromise
                                    in order to determine what procedures the engagement
                                    team can perform to appropriately test the balance of
                                    liabilities subject to compromise on the balance sheet
                                    at year end.
 Amanda Delaney          01/24/24   (2.0) Continued, as of 01/24/24, to document /update         2.0    $ 300   $       600.00
                                    the Lordstown Journal Entry completeness / high risk
                                    criteria testing to appropriately test journal entries as
                                    of 12/31/23.
 Michael Sarkis          01/24/24   Continue, as of 01/24/24, to review the support for          2.0    $ 250   $       500.00
                                    R&D Other Operating Expenses, concurrently
                                    completing test work necessary for the processes (i.e.
                                    vouching) (0.7). Identify items still outstanding from
                                    the client to inquire about later (1.3).
 Grace Mancini           01/24/24   Review, as of 01/24/24, the journal entries provided         2.1    $ 250   $       525.00
                                    by the client to determine which ones met the
                                    engagement team’s high-risk criteria, concurrently
                                    aggregating the selection for further testing to confirm
                                    an adequate response to the risk of material
                                    misstatement.
 Melina Lynn             01/24/24   Using sample support provided by the client,                 2.1    $ 250   $       525.00
                                    performed testing, as of 01/24/24, over the search for
                                    unrecorded liabilities.




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 Amanda Delaney          01/24/24   (2.3) Senior Associate review, as of 01/24/24, PY            2.3    $ 300   $       690.00
                                    information related to the Financial Reporting and
                                    Journal Entry walkthrough process to prepare for these
                                    walkthroughs as well as set up this walkthrough with
                                    the client to confirm the engagement team's
                                    understanding of these processes.
 Sara Rufo               01/24/24   Senior Manager review, as of 01/24/24, of substantive        2.3    $ 400   $       920.00
                                    testing approach related to Lordstown inventory, PPE,
                                    and liability testing.
 Michael Sarkis          01/24/24   Continue, from earlier on 01/24/24, to review the            2.4    $ 250   $       600.00
                                    support for R&D Other Operating Expenses,
                                    concurrently completing test work necessary for the
                                    processes (i.e. vouching) (1.0). Identify items still
                                    outstanding from the client to inquire about later (1.4).
 Michael Sarkis          01/24/24   Reviewed, as of 01/24/24, the legal confirmation             2.6    $ 250   $       650.00
                                    received from third party law firm that Lordstown is
                                    working with, concurrently summarize information of
                                    matters disclosed within.
 Melina Lynn             01/24/24   Test, as of 01/24/24, sample support for R&D                 3.6    $ 250   $       900.00
                                    expenses to determine which samples required more
                                    support from the client.
 Mark Schierholt         01/25/24   0.2 Coordination of EQCR review of audit workpaper           0.2    $ 450   $        90.00
                                    documentation, concurrently providing audit plan via
                                    email to D. Schultz (KPMG).
 Grace Mancini           01/25/24   Reviewed, as of 01/25/24, the updates on request to          0.2    $ 250   $        50.00
                                    have the review assignments for Partners updated in
                                    KCw to confirm that each aspect of the Lordstown
                                    audit is effectively reviewed at the Partner level.
 Mark Schierholt         01/25/24   (0.5) Call for update, as of 01/25/24, on ongoing            0.5    $ 450   $       225.00
                                    Lordstown audit procedures, status of 10-K, next steps
                                    for updating support with M. Schierholt, S. Rufo
                                    (KPMG), B. Sauer (Deloitte), M. Leonard, J. Spreen
                                    (Baker), A. Kroll, M. Port (Lordstown).
 Sara Rufo               01/25/24   (0.5) Call for update, as of 01/25/24, on ongoing            0.5    $ 400   $       200.00
                                    Lordstown audit procedures, status of 10-K, next steps
                                    for updating support with M. Schierholt, S. Rufo
                                    (KPMG), B. Sauer (Deloitte), M. Leonard, J. Spreen
                                    (Baker), A. Kroll, M. Port (Lordstown).
 Michael Sarkis          01/25/24   (0.5) Continue, as of 01/25/24, to review R&D                0.5    $ 250   $       125.00
                                    expense support that was completed by the KPMG
                                    team based off of support we received from the client,
                                    concurrently identify which items we needed more
                                    support from the client.



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 Melina Lynn             01/25/24   Received, as of 01/25/24, the updated equity               0.5    $ 250   $       125.00
                                    confirmation from third party firm, concurrently
                                    documenting the information disclosed within to
                                    Lordstown financial statements to confirm they
                                    accurately represent client equity activity.
 Amanda Delaney          01/25/24   (0.6) Senior Associate review, as of 01/25/24, of          0.6    $ 300   $       180.00
                                    independence workpaper documentation including
                                    confirmations from engagement team members as part
                                    of required LMC YE audit procedures.
 Amanda Delaney          01/25/24   (0.7) Communication via email requesting client to         0.7    $ 300   $       210.00
                                    provide support for BOD minutes / CERAMICS
                                    controls to obtain all evidence required for the audit.
 Amanda Delaney          01/25/24   Drafted email communication to the client around           0.7    $ 300   $       210.00
                                    their expense selection support to verify the
                                    engagement team has the appropriate evidence to test
                                    expenses as of 12/31/23.
 Amanda Delaney          01/25/24   (0.8) Call to walkthrough the Financial Reporting and      0.8    $ 300   $       240.00
                                    Journal Entry Processes with S. Rufo, T. Hallock, A.
                                    Delaney (KPMG), M. Port, and K. Moser
                                    (Lordstown).
 Sara Rufo               01/25/24   (0.8) Call to walkthrough the Financial Reporting and      0.8    $ 400   $       320.00
                                    Journal Entry Processes with S. Rufo, T. Hallock, A.
                                    Delaney (KPMG), M. Port, and K. Moser
                                    (Lordstown).
 Trey Hallock            01/25/24   (0.8) Call to walkthrough the Financial Reporting and      0.8    $ 350   $       280.00
                                    Journal Entry Processes with S. Rufo, T. Hallock, A.
                                    Delaney (KPMG), M. Port, and K. Moser
                                    (Lordstown).
 Melina Lynn             01/25/24   Review, as of 01/25/24, OKE team deliverables              0.8    $ 250   $       200.00
                                    related to project plan updates to confirm the cadence
                                    of review is correct for the Lordstown audit file.
 Grace Mancini           01/25/24   Reviewed, as of 01/25/24, sentinel tree to align           0.8    $ 250   $       200.00
                                    workpaper documentation to current Lordstown
                                    management / governance structure.
 Amanda Delaney          01/25/24   (1.0) Call to discuss additional support related to the    1.0    $ 300   $       300.00
                                    Lordstown personnel expense selections as well as
                                    perform required journal entry inquiries with A.
                                    Delaney (KPMG) and S. Nguyen (Lordstown).
 Melina Lynn             01/25/24   Call to discuss support related to R&D Other               1.0    $ 250   $       250.00
                                    operating expenses and gain an understanding of
                                    certain transactions with A. Delaney, M. Lynn, M.
                                    Sarkis (KPMG), K. Moser (Lordstown).




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 Michael Sarkis          01/25/24   Call to discuss support related to R&D Other                  1.0    $ 250   $       250.00
                                    operating expenses and gain an understanding of
                                    certain transactions with A. Delaney, M. Lynn, M.
                                    Sarkis (KPMG), K. Moser (Lordstown).
 Grace Mancini           01/25/24   Continue, as of 01/25/24, to review additional journal        1.1    $ 250   $       275.00
                                    entries provided by the client to determine which ones
                                    met the engagement team’s high-risk criteria,
                                    concurrently aggregating the selection for further
                                    testing to confirm an adequate response to the risk of
                                    material misstatement.
 Melina Lynn             01/25/24   Review, as of 01/25/24, the support for the search for        1.1    $ 250   $       275.00
                                    unrecorded liabilities received from the client,
                                    concurrently documenting the test work related to the
                                    support (0.8). Identify samples that need to go back to
                                    the client for inquiry (0.3).
 Grace Mancini           01/25/24   Review, as of 01/25/24, client provided support for           1.3    $ 250   $       325.00
                                    payroll sampling as part of the engagement team’s
                                    response to the risk of material misstatement.
 Grace Mancini           01/25/24   Inspected, as of 01/25/24, client provided supporting         1.4    $ 250   $       350.00
                                    documentation for the search for unrecorded liabilities
                                    sampling, concurrently confirm the sufficiency /
                                    reliability of the evidence as part of the engagement
                                    team’s response to the risk of material misstatement.
 Melina Lynn             01/25/24   Review, as of 01/25/25, the test work completed by            1.6    $ 250   $       400.00
                                    other members of the engagement team, concurrently
                                    updating Lordstown Other operating expense test work
                                    along with the personnel expense test work to
                                    accurately represent the expense report for the
                                    Lordstown audit.
 Melina Lynn             01/25/24   Document the entity and environment screen related to         2.5    $ 250   $       625.00
                                    matters that affect Lordstown, the industry including
                                    the risks related to these factors to disclose matters
                                    related to the industry that Lordstown is apart of, EV
                                    industry.
 Melina Lynn             01/25/24   Create expense test work including the layout to              2.7    $ 250   $       675.00
                                    confirm it aligns with KPMG standards as well as
                                    encapsulates all information we are testing.
 Michael Sarkis          01/25/24   Reviewed, as of 01/25/24, the support for SGA Payroll         2.7    $ 250   $       675.00
                                    Other Operating Expenses, concurrently completing
                                    test work necessary for the processes (i.e. vouching)
                                    (1.6). Identify items still outstanding from the client to
                                    inquire about later (1.1).




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 Amanda Delaney          01/25/24   Broke out the legal expense account (1.2) and sampled        2.8    $ 300   $       840.00
                                    through MUS to verify legal expenses as of 12/31/23
                                    (1.6).
 Amanda Delaney          01/25/24   (3.2) Senior Associate review, as of 01/25/34, KPMG          3.2    $ 300   $       960.00
                                    team questions over the SGA / RD expense testing to
                                    determine if we needed to request from Lordstown for
                                    additional support to test expenses.
 Michael Sarkis          01/25/24   Continue, from earlier on 01/2524, to review the             3.3    $ 250   $       825.00
                                    support for SGA Payroll Other Operating Expenses,
                                    concurrently completing test work necessary for the
                                    processes (i.e. vouching) (2.1). Identify items still
                                    outstanding from the client to inquire about later (1.2).
 Grace Mancini           01/26/24   Reviewed, as of 01/26/24,deliverables for Partner            0.1    $ 250   $        25.00
                                    review update work order related to Lordstown in
                                    order to close the request.
 Grace Mancini           01/26/24   Continue, as of 01/26/24, to review sentinel tree to         0.2    $ 250   $        50.00
                                    align workpaper documentation to current Lordstown
                                    management / governance structure to confirm the
                                    engagement team is aware of the entity and its
                                    environment changes throughout the course of the
                                    audit.
 Michael Sarkis          01/26/24   Continue, as of 01/26/24, to utilize KPMG templates          0.3    $ 250   $        75.00
                                    for the related party questionnaire as well as
                                    Lordstown management representation letter based on
                                    matters related to the company to update the current
                                    templates from ALex, concurrently finalizing it to
                                    what Lordstown needed.
 Amanda Delaney          01/26/24   (0.4) Review, as of 01/26/24, of the related party           0.4    $ 300   $       120.00
                                    confirmation as well as the Lordstown management
                                    representation letter in advance of providing to
                                    Lordstown to be filled out.
 Melina Lynn             01/26/24   (0.5) Reviewed, as of 01/26/24, the completed equity         0.5    $ 250   $       125.00
                                    screens to determine which attachments are relevant to
                                    the 2023 audit, concurrently removing irrelevant
                                    attachments that represented the 2022 audit but no
                                    longer are applicable to the 2023 audit.
 Amanda Delaney          01/26/24   (0.5) Senior Associate review, as of 01/26/24, our           0.5    $ 300   $       150.00
                                    questions to the client over the SURL round 1 to verify
                                    liabilities are complete as of 12/31/23.
 Melina Lynn             01/26/24   Review, as of 01/26/24, the Search for Unrecorded            0.6    $ 250   $       150.00
                                    Liabilities documentation completed by another
                                    Associate, concurrently preparing questions over
                                    outstanding support for the client.


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 Amanda Delaney          01/26/24   (0.7) Research, as of 01/26/24, on how to evaluate a        0.7    $ 300   $       210.00
                                    difference with offsetting sampling to understand how
                                    to resolve a expense sample for applicability to
                                    Lordstown.
 Melina Lynn             01/26/24   Review, as of 01/26/24, the test work completed over        0.7    $ 250   $       175.00
                                    the SGA operating expenses relative to Lordstown,
                                    concurrently preparing questions related to same for
                                    the client.
 Grace Mancini           01/26/24   Updated, as of 01/26/24, Board meeting minutes in           0.7    $ 250   $       175.00
                                    KCw to confirm engagement team remains aware on
                                    all matters relevant to the company (Lordstown)
                                    during the audit.
 Amanda Delaney          01/26/24   (0.8) Inspect, as of 01/26/24, bank statement detail        0.8    $ 300   $       240.00
                                    related to the high-risk journal entry testing to verify
                                    no risk of Lordstown management override within the
                                    financials.
 Melina Lynn             01/26/24   Continue, as of 01/25/24, to review deliverables            0.8    $ 250   $       200.00
                                    related to project plan updates to confirm the cadence
                                    of review is correct for the Lordstown audit file.
 Grace Mancini           01/26/24   Continue, as of 01/26/24, to prepare independence           0.9    $ 250   $       225.00
                                    workpaper documentation including confirmations
                                    from engagement team members as part of required
                                    LMC YE audit procedures.
 Amanda Delaney          01/26/24   Continue, as of 01/26/24, to perform audit planning         1.0    $ 300   $       300.00
                                    procedures related to LMC YE audit.
 Melina Lynn             01/26/24   Continue, as of 01/26/24, to document the entity and        1.4    $ 250   $       350.00
                                    environment screen related to matters that affect
                                    Lordstown, the industry including the risks related to
                                    these factors.
 Amanda Delaney          01/26/24   (1.6) Documented our procedures over Lordstown              1.6    $ 300   $       480.00
                                    PPE within a memo to test the balance of PPE as of
                                    12/31/23.
 Michael Sarkis          01/26/24   Reviewed, as of 01/26/24, support for SGA OpEx              1.7    $ 250   $       425.00
                                    Operating Expenses, concurrently completing test
                                    work necessary for the processes (i.e. vouching) (1.3).
                                    Identify items still outstanding from the client to
                                    inquire about later (0.4).
 Sara Rufo               01/26/24   Senior Manager review, as of 01/26/24, of Lordstown         2.1    $ 400   $       840.00
                                    YE audit workpaper documentation.




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 Melina Lynn             01/26/24   (2.7) Update, as of 01/26/24, the equity rollforward to      2.7    $ 250   $       675.00
                                    document the changes in the equity account from last
                                    year's audit to this year, concurrently documenting
                                    amounts from the current year to show changes in
                                    equity year over year for Lordstown.
 Grace Mancini           01/26/24   Completed test work for the search for unrecorded            2.7    $ 250   $       675.00
                                    liabilities sampling to confirm liabilities are
                                    completely / accurately recorded (2.5); Communicated
                                    via email to client for additional needed support (0.2).
 Michael Sarkis          01/26/24   Continue, as of 01/24/24, to review the legal                2.7    $ 250   $       675.00
                                    confirmation received from third party law firm that
                                    Lordstown is working with, concurrently summarize
                                    information of matters disclosed within.
 Michael Sarkis          01/26/24   Continue, from earlier on as of 01/26/24, to review          2.8    $ 250   $       700.00
                                    support for SGA OpEx Operating Expenses,
                                    concurrently completing test work necessary for the
                                    processes (i.e. vouching) (2.0). Identify items still
                                    outstanding from the client to inquire about later (0.8).
 Amanda Delaney          01/26/24   (3.4) Updated, as of 01/26/24, the documentation             3.4    $ 300   $    1,020.00
                                    related to the Lordstown FRP / JE as well as Related
                                    Party walkthroughs to confirm the engagement team's
                                    understanding of these processes.
 Melina Lynn             01/27/24   Reviewed, as of 01/26/24, the support for SGA OpEx           0.6    $ 250   $       150.00
                                    Operating Expenses, concurrently complete the test
                                    work necessary for the processes (i.e. vouching) (0.4).
                                    Identify items still outstanding from the client to
                                    inquire about later (0.2).
 Melina Lynn             01/27/24   (0.9) Continue, as of 01/27/24, to update the equity         0.9    $ 250   $       225.00
                                    rollforward to document the changes in the equity
                                    account from last year's audit to this year, concurrently
                                    documenting amounts from the current year to show
                                    changes in equity year over year for Lordstown.
 Sara Rufo               01/27/24   Senior Manager review, as of 01/27/24, of Lordstown          1.5    $ 400   $       600.00
                                    YE audit test work (primarily litigation workpaper
                                    documentation).
 Scott Stelk             01/29/24   (0.2) Preparation for call to provide update, as of          0.2    $ 500   $       100.00
                                    01/29/24, on ongoing accounting topics related to
                                    Lordstown audit with engagement team.
 Grace Mancini           01/29/24   Continue, as of 01/29/24, to prepare independence            0.2    $ 250   $        50.00
                                    workpaper documentation including confirmations
                                    from engagement team members as part of required
                                    LMC YE audit procedures.



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 Melina Lynn             01/29/24   Review, as of 01/29/24, additional Board minutes         0.3    $ 250   $        75.00
                                    provided by M. Leonard (Lordstown) that have been
                                    documented within the Lordstown audit file.
 Melina Lynn             01/29/24   (0.4) Clear review comments, as of 01/29/24, from the    0.4    $ 250   $       100.00
                                    Lordstown final cash flow analytics, concurrently
                                    aggregating information on what to update.
 Melina Lynn             01/29/24   (0.4) Update, as of 01/29/24, concurrently prepare       0.4    $ 250   $       100.00
                                    attachments within the legal series to accurately
                                    represent legal matters related to Lordstown to be
                                    reviewed by KPMG management.
 Grace Mancini           01/29/24   Updated, as of 01/29/24, the KCw file with Board         0.4    $ 250   $       100.00
                                    meeting information to confirm the engagement team
                                    remains aware of matters relevant to the client.
 Amanda Delaney          01/29/24   (0.5) Call to gain clarity over SGA Operating Expense    0.5    $ 300   $       150.00
                                    selections with the client with A. Delaney, M. Lynn,
                                    M. Sarkis (KPMG) and K. Moser (Lordstown).
 Melina Lynn             01/29/24   (0.5) Call to gain clarity over SGA Operating Expense    0.5    $ 250   $       125.00
                                    selections with the client with A. Delaney, M. Lynn,
                                    M. Sarkis (KPMG) and K. Moser (Lordstown).
 Michael Sarkis          01/29/24   (0.5) Call to gain clarity over SGA Operating Expense    0.5    $ 250   $       125.00
                                    selections with the client with A. Delaney, M. Lynn,
                                    M. Sarkis (KPMG) and K. Moser (Lordstown).
 Chris Gentle            01/29/24   (0.5) Call to update, as of 01/29/24, the engagement     0.5    $ 500   $       250.00
                                    team on current Lordstown audit status and discuss
                                    ongoing accounting topics with our SEC reviewing
                                    Partners with D. Schultz, S. Stelk, J. Miller, M.
                                    Schierbolt, S. Rufo, C. Gentle (KPMG).
 Darrin Schultz          01/29/24   (0.5) Call to update, as of 01/29/24, the engagement     0.5    $ 500   $       250.00
                                    team on current Lordstown audit status and discuss
                                    ongoing accounting topics with our SEC reviewing
                                    Partners with D. Schultz, S. Stelk, J. Miller, M.
                                    Schierbolt, S. Rufo, C. Gentle (KPMG).
 Jennifer Miller         01/29/24   (0.5) Call to update, as of 01/29/24, the engagement     0.5    $ 765   $       382.50
                                    team on current Lordstown audit status and discuss
                                    ongoing accounting topics with our SEC reviewing
                                    Partners with D. Schultz, S. Stelk, J. Miller, M.
                                    Schierbolt, S. Rufo, C. Gentle (KPMG).
 Mark Schierholt         01/29/24   (0.5) Call to update, as of 01/29/24, the engagement     0.5    $ 450   $       225.00
                                    team on current Lordstown audit status and discuss
                                    ongoing accounting topics with our SEC reviewing
                                    Partners with D. Schultz, S. Stelk, J. Miller, M.
                                    Schierbolt, S. Rufo, C. Gentle (KPMG).




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 Sara Rufo               01/29/24   (0.5) Call to update, as of 01/29/24, the engagement       0.5    $ 400   $       200.00
                                    team on current Lordstown audit status and discuss
                                    ongoing accounting topics with our SEC reviewing
                                    Partners with D. Schultz, S. Stelk, J. Miller, M.
                                    Schierbolt, S. Rufo, C. Gentle (KPMG).
 Scott Stelk             01/29/24   (0.5) Call to update, as of 01/29/24, the engagement       0.5    $ 500   $       250.00
                                    team on current Lordstown audit status and discuss
                                    ongoing accounting topics with our SEC reviewing
                                    Partners with D. Schultz, S. Stelk, J. Miller, M.
                                    Schierbolt, S. Rufo, C. Gentle (KPMG).
 Amanda Delaney          01/29/24   Continue, as of 01/29/24, to perform audit planning        0.5    $ 300   $       150.00
                                    procedures related to LMC YE audit, concurrently
                                    assisting Associates with documentation.
 Scott Stelk             01/29/24   Partner review, as of 01/29/24, specifically around        0.5    $ 500   $       250.00
                                    technical accounting for ASC 450 pre-petition
                                    liabilities that will be settled by the post-petition
                                    entity.
 Mark Schierholt         01/29/24   Prepare for call including review, as of 01/29/24, of      0.5    $ 450   $       225.00
                                    technical accounting for ASC 450 pre-petition
                                    liabilities.
 Melina Lynn             01/29/24   Update, as of 01/29/24, concurrently recalculating the     0.6    $ 250   $       150.00
                                    equity rollforward to reflect equity matters that
                                    occurred during the current year for Lordstown.
 Melina Lynn             01/29/24   Review, as of 01/29/24, whistleblower hotline report       0.9    $ 250   $       225.00
                                    in order to document Entity level controls related to
                                    Lordstown HR.
 Amanda Delaney          01/29/24   Inspected, as of 01/29/24, the SGA Other operating         1.0    $ 300   $       300.00
                                    expenses including the engagement team comments in
                                    the substantive tracker to determine if the team needed
                                    to request additional documentation for audit
                                    documentation.
 Sara Rufo               01/29/24   Senior Manager review, as of 01/29/24, of workpaper        1.1    $ 400   $       440.00
                                    documentation including independence, walkthrough,
                                    sampling for Lordstown.
 Sara Rufo               01/29/24   Document the Technical Accounting for our                  1.2    $ 400   $       480.00
                                    Lordstown YE audit procedures.
 Michael Sarkis          01/29/24   Prepared an Excel list of accounts/selections we           1.3    $ 250   $       325.00
                                    needed additional support from client for the OpEx
                                    Selections TW, concurrently determine additional
                                    support needed in OpEx Selections TW.




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 Melina Lynn             01/29/24   Update, as of 01/29/24, concurrently documenting              1.3    $ 250   $       325.00
                                    attachments within the equity procedures (1.1) and
                                    remove any attachments that don't relate to this year
                                    (0.2) to confirm the documents within the equity series
                                    accurately represent the process the company
                                    completed throughout the year to be audited as of
                                    2023.
 Grace Mancini           01/29/24   Inspected, as of 01/29/24, additional SURL supporting         1.5    $ 250   $       375.00
                                    documentation provided by the client, concurrently
                                    updating the test work to confirm liabilities are fairly
                                    reported.
 Melina Lynn             01/29/24   Review, as of 01/29/24, expense support provided by           1.5    $ 250   $       375.00
                                    the client related to RD payroll, RD other operating
                                    expenses, SGA payroll, and SGA other operating
                                    expenses, concurrently updating test work based on
                                    completeness of this support to confirm it is an
                                    accurate representation of the Lordstown expenses for
                                    2023.
 Melina Lynn             01/29/24   Review, as of 01/29/24, concurrently providing                2.2    $ 250   $       550.00
                                    comments for design test of details screens relating to
                                    all of our substantive testing procedures (legal, equity,
                                    inventory, payroll, PPE, Purchases and treasury &
                                    debt) to confirm the documentation reflects
                                    Lordstown’s procedures over 2023.
 Amanda Delaney          01/29/24   Perform procedures related to the Lordstown PPE GL            2.3    $ 300   $       690.00
                                    balance to confirm the balance of PPE at the end of
                                    the year is accurate.
 Dan Varnish             01/29/24   (2.6) Analyzed, as of 01/29/24, the KPMG journal              2.6    $ 300   $       780.00
                                    entry plan / documentation to gain insight into the
                                    journal entry test work once supporting documentation
                                    are received from LMC management.
 Michael Sarkis          01/29/24   Continue, as of 01/29/24, to review the support for           2.7    $ 250   $       675.00
                                    SGA OpEx Operating Expenses (0.9) and completed
                                    test work necessary for the processes (i.e. vouching)
                                    (1.2). Identify items still outstanding from the client to
                                    inquire about later (0.6).
 Amanda Delaney          01/29/24   Continue, from earlier on 01/29/24, to perform                2.7    $ 300   $       810.00
                                    procedures related to Lordstown PPE GL balance to
                                    confirm the balance of PPE at the end of the year is
                                    accurate.
 Dan Varnish             01/29/24   (3.0) Analyzed, as of 01/29/24, legal expense support         3.0    $ 300   $       900.00
                                    as provided by LMC management to perform legal
                                    expense test work.



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 Michael Sarkis          01/29/24   Continue, from earlier on 01/29/24, to review the          3.0    $ 250   $       750.00
                                    support for SGA OpEx Operating Expenses (1.0) and
                                    completed test work necessary for the processes (i.e.
                                    vouching) (1.4). Identify items still outstanding from
                                    the client to inquire about later (0.6).
 Grace Mancini           01/29/24   Inspected, as of 01/29/24, the evidence provided by        3.1    $ 250   $       775.00
                                    client for legal expense sampling to confirm their
                                    expenses are presented fairly (1.6) completed test
                                    work (1.0) and documented our findings (0.5).
 Darrin Schultz          01/30/24   (0.4) Discuss SEC EQCR review coordination with D.         0.4    $ 500   $       200.00
                                    Schultz, J. Miller (KPMG).
 Jennifer Miller         01/30/24   (0.4) Discuss SEC EQCR review coordination with D.         0.4    $ 765   $       306.00
                                    Schultz, J. Miller (KPMG).
 Amanda Delaney          01/30/24   Senior Associate review, as of 01/30/24, of the Equity     0.4    $ 300   $       120.00
                                    substantive procedure to verify we have appropriately
                                    tested the Equity balance as of 12/31/23 for
                                    Lordstown.
 Mark Schierholt         01/30/24   (0.5) Call for update, as of 01/30/24, on ongoing audit    0.5    $ 450   $       225.00
                                    procedures, status of 10-K, and update from
                                    Lordstown management on ongoing accounting
                                    matters with S. Stelk, M. Schierholt (KPMG) and B.
                                    Sauer (Deloitte), M. Leonard, J. Spreen (Baker), A.
                                    Kroll, M. Port (Lordstown).
 Scott Stelk             01/30/24   (0.5) Call for update, as of 01/30/24, on ongoing audit    0.5    $ 500   $       250.00
                                    procedures, status of 10-K, and update from
                                    Lordstown management on ongoing accounting
                                    matters with S. Stelk, M. Schierholt (KPMG) and B.
                                    Sauer (Deloitte), M. Leonard, J. Spreen (Baker), A.
                                    Kroll, M. Port (Lordstown).
 Amanda Delaney          01/30/24   Continue, as of 01/30/24, to perform audit planning        0.5    $ 300   $       150.00
                                    procedures related to LMC YE audit, concurrently
                                    assisting Associates with documentation.
 Amanda Delaney          01/30/24   Senior Associate review, as of 01/30/24, of the            0.5    $ 300   $       150.00
                                    additional CERAMICS that were prepared in the
                                    Lordstown audit file to verify we have appropriate
                                    documentation / testing around the entity's control
                                    environment.
 Amanda Delaney          01/30/24   Senior Associate review, as of 01/30/24, of additional     0.6    $ 300   $       180.00
                                    documentation of the Entity and its Environment
                                    screen to verify information related to the company
                                    (Lordstown) is updated for the company's current
                                    financial environment.




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        Name               Date                         Description                        Hours    Rate       Amount

 Sara Rufo               01/30/24   Senior Manager review, as of 01/30/24, of Lordstown     0.8    $ 400   $       320.00
                                    Board meeting minutes.
 Scott Stelk             01/30/24   0.9 Partner review, as of 01/30/24, of technical        0.9    $ 500   $       450.00
                                    accounting memo around bankruptcy related matters
                                    for Lordstown.
 Amanda Delaney          01/30/24   (1.0) Call with client to discuss items that we need    1.0    $ 300   $       300.00
                                    from them and items that they need from us to
                                    complete test work and questions over these items
                                    were discussed with C. Gentle, A. Delaney, M. Lynn,
                                    D. Varnish, S. Rufo (KPMG) and K. Moser, M. Port
                                    (Lordstown).
 Chris Gentle            01/30/24   (1.0) Call with client to discuss items that we need    1.0    $ 500   $       500.00
                                    from them and items that they need from us to
                                    complete test work and questions over these items
                                    were discussed with C. Gentle, A. Delaney, M. Lynn,
                                    D. Varnish, S. Rufo (KPMG) and K. Moser, M. Port
                                    (Lordstown).
 Dan Varnish             01/30/24   (1.0) Call with client to discuss items that we need    1.0    $ 300   $       300.00
                                    from them and items that they need from us to
                                    complete test work and questions over these items
                                    were discussed with C. Gentle, A. Delaney, M. Lynn,
                                    D. Varnish, S. Rufo (KPMG) and K. Moser, M. Port
                                    (Lordstown).
 Melina Lynn             01/30/24   (1.0) Call with client to discuss items that we need    1.0    $ 250   $       250.00
                                    from them and items that they need from us to
                                    complete test work and questions over these items
                                    were discussed with C. Gentle, A. Delaney, M. Lynn,
                                    D. Varnish, S. Rufo (KPMG) and K. Moser, M. Port
                                    (Lordstown).
 Sara Rufo               01/30/24   (1.0) Call with client to discuss items that we need    1.0    $ 400   $       400.00
                                    from them and items that they need from us to
                                    complete test work and questions over these items
                                    were discussed with C. Gentle, A. Delaney, M. Lynn,
                                    D. Varnish, S. Rufo (KPMG) and K. Moser, M. Port
                                    (Lordstown).
 Amanda Delaney          01/30/24   Inspected, as of 01/30/24, RD additional expense        1.2    $ 300   $       360.00
                                    support provided by client to test the balance of
                                    expenses as of 12/31/23.
 Amanda Delaney          01/30/24   Senior associate review of audit workpapers, as of      1.3    $ 300   $       390.00
                                    1/30/24, primarily related to expense testing
 Dan Varnish             01/30/24   (1.4) Senior Associate review, as of 01/30/24, of       1.4    $ 300   $       420.00
                                    KPMG documentation over payroll business process.




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 Sara Rufo               01/30/24   1.4 Senior Manager review, as of 01/30/24, of               1.4    $ 400   $       560.00
                                    documentation relating to updated risk assessment for
                                    overall Lordstown engagement.
 Amanda Delaney          01/30/24   Inspect the personnel expense support provided by           1.4    $ 300   $       420.00
                                    Lordstown (1.1), perform Senior Associate review, as
                                    of 01/30/24, of the engagement team's first round of
                                    testing to verify if we needed to request additional
                                    documentation from the client (0.3).
 Grace Mancini           01/30/24   Inspected, as of 01/30/24, the evidence provided by         1.4    $ 250   $       350.00
                                    client for legal expense sampling to confirm their
                                    expenses are presented fairly (0.6); completed test
                                    work (0.4) and documented our findings (0.4).
 Amanda Delaney          01/30/24   Documented the PPE risk assessment / procedures the         2.0    $ 300   $       600.00
                                    engagement team has performed related to Lordstown
                                    PPE including impairment, sale of assets, depreciation
                                    etc. to verify that KPMG was testing PPE
                                    appropriately based on the risk identified related to
                                    Lordstown PPE.
 Michael Sarkis          01/30/24   In order to confirm the validity / accuracy of samples      2.0    $ 250   $       500.00
                                    provided by client, cross referenced/ aggregated
                                    Journal Entries / selected samples as of 1/30/24.
 Melina Lynn             01/30/24   (2.1) Reconcile, as of 01/30/24, expenses to trial          2.1    $ 250   $       525.00
                                    balance, concurrently documenting the calculation to
                                    put into the Lordstown audit file.
 Grace Mancini           01/30/24   Prepared test work for Lordstown High risk Journal          2.1    $ 250   $       525.00
                                    entries (1.0), inspected third party documentation to
                                    confirm the accuracy of the journal entries (1.1).
 Dan Varnish             01/30/24   (2.4) Analyzed, as of 01/30/24, legal expense               2.4    $ 300   $       720.00
                                    supporting documentation provided by Lordstown
                                    management to perform legal expense test work.
 Grace Mancini           01/30/24   Continue, from earlier on 01/30/24, to prepare test         2.4    $ 250   $       600.00
                                    work for Lordstown High risk Journal entries,
                                    concurrently inspecting third party documentation to
                                    evaluate the accuracy of the journal entries.
 Michael Sarkis          01/30/24   In order to confirm the validity / accuracy of samples      2.4    $ 250   $       600.00
                                    provided by client, continue from earlier on 1/30/24,
                                    to cross reference/ aggregate Journal Entries / selected
                                    samples as of 1/30/24.
 Dan Varnish             01/30/24   (2.8) Analyzed, as of 01/30/24, the journal entry           2.8    $ 300   $       840.00
                                    supporting documentation provided by Lordstown
                                    management to perform journal entry test work.




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 Michael Sarkis          01/30/24   Review, as of 01/30/24, legal confirmation from             3.1    $ 250   $       775.00
                                    Lordstown, concurrently summarize information of
                                    matters disclosed within to complete / finalize legal
                                    letters.
 Melina Lynn             01/30/24   (3.7) Aggregate, as of 01/30/24, sample expenses for        3.7    $ 250   $       925.00
                                    all four expense populations to aggregate sub-
                                    selections to inquire for from the client.
 Grace Mancini           01/31/24   Continue, as of 01/31/24 , to prepare independence          0.1    $ 250   $        25.00
                                    workpaper documentation including confirmations
                                    from engagement team members as part of required
                                    LMC YE audit procedures.
 Amanda Delaney          01/31/24   (0.3) Follow up call, as of 01/31/24, with client to        0.3    $ 300   $        90.00
                                    discuss items that we need from them and items that
                                    they need from us to complete test work and questions
                                    over these items were discussed with A. Delaney, M.
                                    Lynn (KPMG) and K. Moser (Lordstown).
 Melina Lynn             01/31/24   (0.3) Follow up call, as of 01/31/24, with client to        0.3    $ 250   $        75.00
                                    discuss items that we need from them and items that
                                    they need from us to complete test work and questions
                                    over these items were discussed with A. Delaney, M.
                                    Lynn (KPMG) and K. Moser (Lordstown).
 Amanda Delaney          01/31/24   Recalculated Lordstown preferred stock accumulated          0.3    $ 300   $        90.00
                                    divided balance listed within the equity rollforward to
                                    verify the amount was appropriate.
 Melina Lynn             01/31/24   Review, as of 01/24/24, KCw / substantive design            0.6    $ 250   $       150.00
                                    screens that have already been prepared to confirm
                                    they depict what the audit team is doing regarding
                                    those processes.
 Amanda Delaney          01/31/24   Began to update, as of 01/31/24, Lordstown financial        0.8    $ 300   $       240.00
                                    statement balances within the KCw file to verify the
                                    appropriate balances are listed within the KCw
                                    screens.
 Grace Mancini           01/31/24   Selected round 2 of sampling for SURL for additional        0.9    $ 250   $       225.00
                                    support follow up from client to confirm all liabilities
                                    are accurately reported.
 Amanda Delaney          01/31/24   Continue, as of 01/31/24, to perform audit planning         1.0    $ 300   $       300.00
                                    procedures related to LMC YE audit.
 Melina Lynn             01/31/24   Update, as of 01/31/24, the new trial balance received      1.0    $ 250   $       250.00
                                    from client management, concurrently documenting
                                    changes within the audit file to confirm that the trial
                                    balance in the file matches the changes Lordstown
                                    made to the trial balance.




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 Sara Rufo               01/31/24   Continue, as of 01/31/24, documentation around               1.1    $ 400   $       440.00
                                    updated risk assessment for overall engagement.
 Amanda Delaney          01/31/24   Documented the depreciation understanding the                1.1    $ 300   $       330.00
                                    estimates screen to verify the engagement team
                                    appropriately documented risks / procedures related to
                                    Lordstown’s depreciation expense during the year.
 Melina Lynn             01/31/24   Complete SGA Other Operating expense test work by            1.2    $ 250   $       300.00
                                    confirming all samples / nuances are documented in
                                    the test work.
 Amanda Delaney          01/31/24   Senior Associate review, as of 01/31/24, of PTP              1.2    $ 300   $       360.00
                                    understanding, risk and substantive design TOD
                                    screens for Lordstown.
 Amanda Delaney          01/31/24   Inspected, as of 01/31/24, the Search for Unrecorded         1.4    $ 300   $       420.00
                                    Liabilities (SURL) support provided to the
                                    engagement team, concurrently reviewing the round 2
                                    SURL population provided by the client to verify we
                                    have the appropriate information to test that liabilities
                                    are complete as of year end.
 Melina Lynn             01/31/24   (1.6) Review, as of 01/31/24, the responses from             1.6    $ 250   $       400.00
                                    inquiries received from K. Moser (Lordstown) over
                                    Payroll expenses, concurrently documenting those
                                    responses in the test work to support the inquiries
                                    performed related to LMC payroll expenses for 2023.
 Dan Varnish             01/31/24   (1.8) Senior Associate review, as of 1/31/24, of             1.8    $ 300   $       540.00
                                    KPMG Associate legal expense test work to confirm
                                    Lordstown management accrued for legal expenses
                                    accurately.
 Melina Lynn             01/31/24   (1.8) Using the sub-selections support from the client,      1.8    $ 250   $       450.00
                                    documented the information shown within,
                                    concurrently aggregate additional questions over the
                                    support to inquire for from client management.
 Dan Varnish             01/31/24   (2.5) Analyzed, as of 01/31/24, the updated journal          2.5    $ 300   $       750.00
                                    entry supporting documentation received from
                                    Lordstown management on Wednesday afternoon for
                                    journal entry test work.
 Dan Varnish             01/31/24   (2.6) Analyzed, as of 01/31/24, the updated legal            2.6    $ 300   $       780.00
                                    expense supporting documentation received from
                                    Lordstown management on Wednesday morning for
                                    legal expense test work.
 Dan Varnish             01/31/24   (2.7) Analyzed, as of 01/31/24, the updated journal          2.7    $ 300   $       810.00
                                    entry supporting documentation received from
                                    Lordstown management on Wednesday morning for
                                    journal entry test work.



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                                                          EXHIBIT C1

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        Name               Date                          Description                           Hours    Rate       Amount

 Melina Lynn             01/31/24   Reviewed, cleared, updated and documented review            2.7    $ 250   $       675.00
                                    comments, as of 01/31/24, related to Lordstown entity
                                    and environment (0.2), treasury (0.3), equity (0.7), and
                                    payroll procedures (1.5).
 Amanda Delaney          01/31/24   Continue, from earlier on 01/31/24, to document the         2.8    $ 300   $       840.00
                                    depreciation understanding the estimates screen to
                                    verify the engagement team appropriately documented
                                    risks / procedures related to Lordstown’s depreciation
                                    expense during the year.
 Michael Sarkis          01/31/24   Continue, as of 01/31/24, to cross reference /              3.6    $ 250   $       900.00
                                    aggregate Journal Entries / select samples to confirm
                                    the validity / accuracy of samples provided by client
 Grace Mancini           01/31/24   Prepare various screens related to LMC YE audit             3.8    $ 250   $       950.00
                                    relating to various substantive procedures in the
                                    procure to pay, equity, and treasury processes.
 Michael Sarkis          01/31/24   Continue, from earlier on 01/31/24, to cross                3.9    $ 250   $       975.00
                                    referenced/ aggregate Journal Entries / selected
                                    samples to confirm the validity / accuracy of samples
                                    provided by client.


                                                     Total Audit Services                      472.7           $ 139,775.00




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                                                   EXHIBIT C2

                                          Lordstown Motors Corp., et al.
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                                                  Retention Services
                                      January 1, 2024 through January 31, 2024




          Name               Date                 Description                    Hours   Rate    Amount




                                      no services provided in current month


                                            Total Retention Services              0.0           $           -




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                                                           EXHIBIT C3

                                                 Lordstown Motors Corp., et al.
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                                               Fee Application Preparation Services
                                             January 1, 2024 through January 31, 2024




          Name               Date                         Description                          Hours   Rate        Amount

   Mila Orobia             01/03/24 2.4 Began to prepare exhibit C1 for inclusion in            2.4    $ 210   $      504.00
                                    Lordstown Motors Corp 4th monthly fee application.
   Mila Orobia             01/09/24 0.1 Responded to counsel email regarding question           0.1    $ 210   $       21.00
                                    whether KPMG received informal comments related to
                                    Lordstown 3rd combined monthly fee application.
   Mila Orobia             01/09/24 1.0 Continue, as of 1/9/24, to prepare exhibit C1 for       1.0    $ 210   $      210.00
                                    inclusion in Lordstown Motors Corp 4th monthly fee
                                    application.
   Mila Orobia             01/10/24 0.1 Email file to C. Campbell (KPMG) to facilitate          0.1    $ 210   $       21.00
                                    review of Lordstown 4th monthly exhibits.
   Celeste Campbell        01/11/24 Perform manager review of LMC 4th monthly exhibits          0.7    $ 298   $      208.60
                                    in advance of submission for senior manager review.
   Mila Orobia             01/16/24 0.1 Email communication to S. Rufo (KPMG)                   0.1    $ 210   $       21.00
                                    requesting to review Lordstown 4th monthly exhibit
                                    for inclusion in Lordstown 4th monthly fee
                                    application.
   Mila Orobia             01/16/24 0.1 Responded to S. Rufo (KPMG) request / review            0.1    $ 210   $       21.00
                                    comments related to Lordstown 4th monthly exhibit.
   Mila Orobia             01/17/24 0.1 Email C. Campbell (KPMG) with final files to            0.1    $ 210   $       21.00
                                    review (Lordstown 4th monthly narrative /declaration)
                                    in advance of submission to S. Stelk (KPMG) for
                                    partner review.
   Mila Orobia             01/17/24 0.1 Email communication to S. Rufo (KPMG)                   0.1    $ 210   $       21.00
                                    requesting for description of services to be included in
                                    KPMG's 4th monthly application for Lordstown
                                    Motors Corp.
   Mila Orobia             01/17/24 0.3 Finalize, as of 1/17/24, the Lordstown 4th monthly      0.3    $ 210   $       63.00
                                    exhibits based on S. Rufo (KPMG) comments.
   Mila Orobia             01/17/24 Prepare Lordstown 4th monthly Narrative (0.4)               0.5    $ 210   $      105.00
                                    Declaration (0.1) to be included in Lordstown 4th
                                    monthly fee application.
   Mila Orobia             01/18/24 3.0 Began to prepare exhibit C1 for inclusion in            3.0    $ 210   $      630.00
                                    Lordstown Motors Corp 5th monthly fee application.
   Mila Orobia             01/19/24 0.1 Email communication to S. Stelk (KPMG)                  0.1    $ 210   $       21.00
                                    requesting approval/permission to apply signature to
                                    Lordstown Motors Corp 4th monthly narrative
                                    /declaration.
   Mila Orobia             01/19/24 0.3 Finalize Lordstown 4th monthly fee application          0.3    $ 210   $       63.00
                                    package to be sent to C. Campbell (KPMG) for review
                                    before sending to counsel for filing.
   Celeste Campbell        01/19/24 Perform manager review of LMC 4th narrative,                0.4    $ 298   $      119.20
                                    certification and final exhibits



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                                                          EXHIBIT C3

                                                 Lordstown Motors Corp., et al.
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                                               Fee Application Preparation Services
                                             January 1, 2024 through January 31, 2024




          Name               Date                        Description                     Hours   Rate        Amount

   Mila Orobia             01/22/24 0.1 Email communication to Lordstown counsel          0.1    $ 210   $       21.00
                                    requesting to file/serve Lordstown 4th monthly fee
                                    application.


                                         Total Fee Application Preparation Services       9.4            $     2,070.80




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